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 1    Steve W. Berman (pro hac vice)                    Jeffrey L. Kessler (pro hac vice)
      Emilee N. Sisco (pro hac vice)                    David G. Feher (pro hac vice)
 2    Stephanie Verdoia (pro hac vice)                  David L. Greenspan (pro hac vice)
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12
                                                        Counsel for Plaintiffs and the Proposed Class
13

14                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
15                                          OAKLAND DIVISION
16
     CHUBA HUBBARD and KEIRA                            Case No. 4:23-cv-01593-CW
17   MCCARRELL, on behalf of themselves and all
     others similarly situated,                         DECLARATION OF STEVE W. BERMAN IN
18                                                      SUPPORT OF PLAINTIFFS' MOTION FOR
                       Plaintiffs,
                                                        ATTORNEYS’ FEES, REIMBURSEMENT
19                                                      OF LITIGATION EXPENSES, AND
              v.
20                                                      SERVICE AWARDS FOR CLASS
     NATIONAL COLLEGIATE ATHLETIC                       REPRESENTATIVES
21   ASSOCIATION; ATLANTIC COAST
     CONFERENCE; THE BIG TEN                            Date:      April 7, 2025
22   CONFERENCE, INC.; THE BIG 12                       Time:      10:00 a.m.
     CONFERENCE, INC.; PAC-12
     CONFERENCE; and SOUTHEASTERN                       Judge:     Hon. Judge Claudia Wilken
23                                                      Courtroom: 2, 4th Floor
     CONFERENCE,
24
                       Defendants.
25

26

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28



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 1               I, STEVE W. BERMAN, declare as follows:

 2               1.    I am an attorney duly licensed to practice law before this Court. I am a member of the

 3   Washington Bar, and I have been admitted to this Court pro hac vice. I am the managing partner of

 4   Hagens Berman Sobol Shapiro LLP (“Hagens Berman”) and counsel for Plaintiffs (“Plaintiffs”) in

 5   this matter. Hagens Berman, alongside Winston & Strawn, are counsel of record for the Plaintiffs in

 6   this matter.

 7               2.    In addition to this declaration, Jeffrey Kessler submitted an individual declaration on

 8   behalf of his respective firm, Winston & Strawn. Mr. Kessler’s declaration is submitted concurrently

 9   herewith, and it is referred to as the “Kessler Decl.”

10               3.    I submit this declaration in support of the Plaintiffs' Motion for Attorneys’ Fees,

11   Reimbursement of Litigation Expenses, and Service Awards for Class Representatives in Hubbard.

12   The purpose of this declaration is to summarize and provide detailed documentation of: (a) the time

13   and fees incurred by Hagens Berman in prosecuting this action; (b) the costs and expenses for which

14   Hagens Berman seek reimbursement, including the costs and expenses from the Litigation Fund,

15   which Hagens Berman and Winston & Strawn funded; (c) the steps Hagens Berman employed to

16   ensure effective management of this complex litigation; and (d) the work performed by the class

17   representatives in support of this action. A summary of the work performed by Hagens Berman and

18   Winston & Strawn throughout this litigation is provided in Jeffrey Kessler’s declaration submitted

19   concurrently herewith. Kessler Decl. ¶¶ 4-19.

20               4.    Hagens Berman has prosecuted this case solely on a contingent-fee basis, without the

21   use of outside funders, with no upfront retainer fees or allowance for expenses, and has been at risk

22   of not receiving compensation for prosecuting the claims against the Defendants. These attorneys and

23   their firms devoted substantial time and resources to this matter and have foregone other legal work

24   for which they otherwise would have been compensated.

25          I.        SUMMARY OF HAGENS BERMAN’S LODESTAR AND EXPENSES FOR
                                         HUBBARD
26
                 5.    Hagens Berman’s total lodestar for professional and attorney time billed to the
27
     Hubbard case, up to and including December 9, 2024, is $1,143,820.00. Professionals at Hagens
28
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     EXPENSES, AND SERVICE AWARDS FOR CLASS REPS
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 1   Berman devoted 2,015.20 hours in total to this litigation. Hagens Berman’s lodestar for attorney and

 2   professional time billed is calculated based on the current hourly rates of the firm.

 3            6.       Hagens Berman’s hourly rates are based on regular and ongoing monitoring of

 4   prevailing market rates in the San Francisco Bay Area for attorneys of comparable skill, experience,

 5   and qualifications. Hagens Berman’s hourly rates and rate structure have been approved by

 6   numerous courts, including in the Northern District of California. See In re Google Play Developer

 7   Antitrust Litig., 2024 WL 150585, at *3 (N.D. Cal. Jan. 11, 2024); see also In re Nat’l Collegiate

 8   Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 2017 WL 6040065, at *8-*9 (N.D. Cal.

 9   Dec. 6, 2017), aff’d, 768 F. App’x 651 (9th Cir. 2019).

10            7.       A summary of the timekeepers who worked on Hubbard, the number of hours

11   dedicated to particular tasks in this litigation, their total hours, their current hourly billing rates, and

12   their total lodestar based on current billing rates, is attached as Exhibit A.

13            8.       Attached as Exhibit B is a summary of lodestar by task category. The task categories
14   are as follows:
15                 a. Investigation and Fact Discovery, which includes investigation of the case,
16                     researching publicly available sources, relevant prior litigation against Defendants,
17                     investigating potential fact witnesses, and drafting the initial complaint.
18                 b. Analysis/Strategy, which includes internal communications with co-counsel and non-

19                     motion written submissions to the Court, including stipulations and case management

20                     plans.

21                 c. Written Discovery, which includes drafting, responding to, and collecting documents

22                     regarding written discovery to and from parties and to third parties.

23                 d. Document Review, which includes analyzing and reviewing documents produced by

24                     parties and third parties, and managing document review efforts.

25                 e. Motions, which includes researching, writing, filing, responding to motions, and oral

26                     argument concerning motions.

27                 f. Experts/Consultants, which includes facilitating expert reports and data analysis,

28                 corresponding and conferencing with experts, and supporting expert conclusions.
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 1                  g. Depositions, which includes analysis and research for, preparing for, and taking and

 2                     defending depositions.

 3                  h. Client and Class Communications, which includes corresponding and conferencing

 4                     with class representatives, and with potential and actual class members.

 5                  i. Settlement, which includes settlement negotiations, mediation, and work conducted

 6                     to facilitate the settlement, such as notice and administration tasks.

 7                  j. File Maintenance, which includes non-attorney work organizing, updating, and

 8                     maintaining the litigation file.

 9            9.       A summary of the costs and expenses that Hagens Berman has paid to date in

10   Hubbard is attached as Exhibit C. Apart from contribution to the Litigation Fund, the separate

11   expenses incurred total of $4,971.59. These costs and expenses are based on the books and records of
12   my firm. The expenses reflected in Exhibit C are prepared from expense vouchers, receipts, and
13   bank records, and thus represent an accurate recordation of the expenses incurred. Hagens Berman
14   can produce a copy of these expense vouchers, receipts, and bank records upon request of the Court.
15            10.      I have reviewed the time and expenses reported by Hagens Berman in this case which
16   are included in this declaration and its exhibits, and I affirm that they are true and accurate.
17            11.      As with all expenses for which Hagens Berman seeks reimbursement, no outside
18   litigation funders have contributed to, or have an interest in, this Litigation Fund. The Hagens

19   Berman firm has been tasked with the responsibility for administering the Litigation Fund in

20   connection with the prosecution of this case. The expenses incurred by the Litigation Fund are

21   reflected in the books and records of Hagens Berman. These books and records are prepared from

22   invoices, checks, and other source materials which are regularly kept and maintained by Hagens

23   Berman and accurately reflect the expenses incurred.

24            12.      The litigation costs and expenses paid from the Litigation Fund total $276, 038.26

25   Exhibit_D.

26            13.      Attached hereto as Exhibit D is a summary of the expenses paid from the Litigation

27   Fund. The expenses from the Litigation Fund include the following:

28                     a.  Experts and Analysis: Hagens Berman and Winston & Strawn retained well-
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 1   respected economic and other experts to provide critical support for the damages methodology at

 2   class certification to calculate settlement allocations, and to do other expert work critical to this case.

 3   In total, Plaintiffs incurred $262, 445.00 in this category of expenses paid from the Litigation Fund,

 4   which is equivalent to 95.07% percent of the total expenditures in this case.

 5                     b.     Deposition Transcripts and Videographers: Payments to deposition

 6   transcription and videography services. In total, Plaintiffs incurred $5,182.67 in this category of

 7   expenses paid from the Litigation Fund.

 8                     c.     Document Collection, Review, and Synthesis: Payments made to document

 9   review platform hosting vendors, including Everlaw. In total, Plaintiffs incurred $77.25 in costs for

10   these services paid from the Litigation Fund.

11   II.      SUMMARY OF HAGENS BERMAN’S ATTORNEYS’ FEES IN HUBBARD
12            14. In Plaintiffs’ Motion for Attorneys’ Fees, Reimbursement of Litigation Expenses, and

13   Service Awards for Class Representatives in Hubbard, Plaintiffs respectfully request an award of

14   $40,000,000 in attorney’s fees.

15            15.      Hagens Berman has provided its total lodestar in Hubbard at current hourly rates.

16   Exhibit A. Similarly, in Mr. Kessler’s declaration, he has provided Winston & Strawn’s total

17   lodestar at current hourly rates. Kessler Decl. ¶ 26.

18            16.      As shown in the exhibits to the declaration of Mr. Kessler, Hagens Berman and

19   Winston & Strawn’s combined total lodestar at current rates in Hubbard is $4,793,070.00. The total

20   lodestar is based on the 5,977.70 hours that they have invested in prosecuting this action. See Kessler

21   Decl., Ex. B.

22            17.      Hagens Berman has foregone other work while litigating this case, and some attorneys

23   worked nearly exclusively on this case.

24            18.      For an antitrust case of this size and complexity, Hagens Berman has worked hard to

25   keep the team relatively small, relying on attorneys from only two firms for the vast majority of the

26   worked completed to avoid unnecessary inefficiency. Our team knows the case well and understands

27   the complexity and nuances of the litigation.

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 1            19.      To avoid duplication, Hagens Berman and Winston & Strawn has worked together to

 2   split assignments wherever possible, including at the document review stage. Our document

 3   reviewers have years of experience reviewing and assessing large volumes of documents in similar

 4   antitrust class action cases.

 5            20.      The attorneys working for both firms applied their extensive experience litigating

 6   other antitrust class actions to this case, resulting in additional efficiencies.

 7   III.     CLASS REPRESENTATIVE SERVICE AWARDS IN HUBBARD
 8            21.  Class representative Keira McCarrell has devoted noteworthy time and resources to

 9   representing this class from inception to settlement and has remained actively involved during the

10   course of this case.

11            22.      Ms. McCarrell worked closely with counsel to respond to requests for production and

12   interrogatories from Defendants. She took seriously her obligation to preserve responsive documents

13   and further worked with counsel to collect and produce each and every responsive document and all

14   information in her possession, often from multiple locations and sources. She searched her files for

15   any correspondence, forms, contracts, financial and athletics records, and any other potentially

16   relevant documents that spanned her collegiate athletic career from high school to after her NCAA

17   eligibility was exhausted.

18            23.      Ms. McCarrell was responsive and available to counsel through the entire duration of

19   this lawsuit, providing additional information as needed and remaining engaged and actively

20   informed on the case.

21            24.      Ms. McCarrell prepared for, traveled to and from, and participated in an in-person

22   deposition.

23            25.      Ms. McCarrell’s deposition lasted approximately four hours and she dedicated hours

24   of time and energy preparing for her deposition, with assistance of counsel.

25            26.      In recognition of her significant contributions to this litigation Plaintiffs request a

26   service award for Ms. McCarrell in the amount of $50,000.

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 1   IV.      EXPERTISE AND EXPERIENCE OF CORE HAGENS BERMAN TEAM MEMBERS
              WORKING ON HUBBARD
 2            27. The expertise and experience of Hagens Berman is another important factor in setting
 3   a fair fee. As demonstrated by the Hagens Berman firm résumé, attached hereto as Exhibit _E_,
 4   Hagens Berman is among the most experienced and skilled practitioners in the complex litigation
 5   field, and has a long and successful track record in such cases. Hagens Berman is a nationally
 6   recognized law firm, with offices in Berkeley, Seattle, Boston, Chicago, Los Angeles, Washington
 7   D.C., Phoenix, London and Paris. The firm has been consistently rated by the National Law Journal
 8   in the top ten of plaintiffs’ firms in the country. Hagens Berman has extensive experience litigating
 9   complex class actions asserting claims of securities, investment fraud, product liability, tort, antitrust,
10   consumer fraud, employment, environmental, and ERISA cases. The fact that Hagens Berman has
11   demonstrated a willingness and ability to prosecute complex cases such as this was undoubtedly a
12   factor that encouraged the Bank Defendants to engage in settlement discussions, and added valuable
13   leverage in the negotiations, ultimately resulting in the recovery for the Class. The Hagens Berman
14   team paid attention to ensuring that each attorney on the file had specific areas of focus; that there
15   was not duplication of efforts, especially among higher billers; and that projects were assigned to
16   experienced lawyers with depth in the field who could effectively and efficiently execute the amount
17   of work this case demanded.
18            28.      In addition to biographies included in the attached firm résumé, below is a summary
19   of the experience of some of the core team members:
20            29.      Steve Berman, one of the founding partners of Hagens Berman, is widely regarded as
21   one of the most effective class action attorneys in the country. In In re NCAA Grant-in-Aid Cap
22   Antitrust Litigation, Mr. Berman led Hagens Berman’s trial team in a 10-day trial in September 2019
23   before former Chief Judge Claudia Wilken of the Northern District of California, successfully
24   obtaining an injunction against the NCAA relating to caps on compensation available to college
25   student-athletes. Mr. Berman questioned numerous witnesses and gave the closing argument at trial.
26   The decision and injunction was upheld, unanimously, by the Supreme Court. See NCAA v. Alston,
27   141 U.S. 1241 (2021). Prior to trial, Mr. Berman recovered a $208 million settlement for the class,
28
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 1   but continued to litigate on behalf of the class for the injunction affirmed by the Supreme Court. He

 2   served as lead counsel for 13 states in the tobacco litigation, leading to a settlement of $206 billion—

 3   the largest in history. He, along with Marc Seltzer, was appointed sua sponte by Judge James V.

 4   Selna of the Central District of California to serve as co-lead counsel in In re Toyota Motor Corp.

 5   Unintended Acceleration. The $1.6 billion settlement was then the largest auto settlement, both in

 6   terms of class members and recovery, in U.S. history. Mr. Berman was sole lead class counsel in In

 7   re: Stericycle, Inc., Steri-Safe Contract Litigation, Case No. 13 C 5795, MDL No. 2455 (N.D. Ill.),

 8   where the class obtained $295 million in settlements and injunctive relief. Judge Shadur stated in his

 9   preliminary approval order that the settlement demonstrated the “type of high quality work product

10   that this Court anticipated when it designated Hagens Berman and its lead partner Steve Berman as

11   class counsel.” Memo. & Order at 3, In re: Stericycle, Inc., MDL No. 2455 (N.D. Ill. Oct. 26, 2017),

12   ECF No. 310. He has served as lead or co-lead counsel in antitrust, securities, consumer, and

13   products liability litigation, as well as other complex litigation, including MDL actions, throughout

14   the country. In addition, Mr. Berman was appointed to the plaintiffs’ steering committee by Judge

15   Breyer in the In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liability Litig., No.

16   15-md-02672-CRB (N.D. Cal.), and lead counsel for the franchise VW dealers, who settled for $1.2

17   billion. Mr. Berman has received countless awards and recognition for his work, including the

18   National Law Journal’s 2021 recognition of him as a Sports & Entertainment Law Trailblazer, the

19   American Antitrust Institute recognizing him in 2021, 2019, and 2018 as an Honoree for Outstanding

20   Antitrust Litigation Achievement, and being named as a Class Action MVP of the Year for 2016

21   through 2020 by Law360. Mr. Berman was also recently named to the Lawdragon Hall of Fame for

22   his career achievements.

23            30.      Benjamin Siegel is Of Counsel in Hagens Berman’s Berkeley office with significant

24   experience in antitrust class actions. He is a 2007 graduate of The University of Texas School of

25   Law, where he was an Articles Editor of the Texas Law Review, and the University of Texas Lyndon

26   B. Johnson School of Public Affairs, graduating first in his class. After law school, Mr. Siegel was a

27   judicial law clerk to the Honorable Thomas M. Reavley of the United States Court of Appeals for the

28   Fifth Circuit. He was admitted to the State Bar of California in 2008 and has been admitted to
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 1   practice before the courts of the State of California, the Northern District of California, the Eastern

 2   District of California, and the Ninth Circuit Court of Appeals. Since joining the firm, Mr. Siegel has

 3   had a practice focused on antitrust class actions and is a member of the Hagens Berman teams in In

 4   re Resistors Antitrust Litigation, No. 15-cv-03820 (N.D. Cal.); In re Optical Disk Drive Antitrust

 5   Litigation, No. 10-md-02143 (N.D. Cal.); Mackmin v. Visa Inc., No. 11-cv-1831 (D.D.C.); In re

 6   College Athlete NIL Litigation, No. 20-cv-03919 (N.D. Cal.); and In re NCAA Grant-In-Aid Cap

 7   Antitrust Litigation, No. 14-md-02541 (N.D. Cal.). In the latter case, Mr. Siegel was part of the team

 8   that successfully defended its trial win before the Supreme Court and received the American Law

 9   Institute’s award for Outstanding Antitrust Litigation Achievement in Private Law Practice. In 2018,

10   he was named one of Super Lawyers’ “Rising Stars.”

11            31.      Emilee Sisco is an associate in Hagens Berman’s Seattle office with substantial

12   experience in sports litigation and antitrust class actions. Ms. Sisco graduated from Seattle University

13   School of Law in 2015. During law school, Ms. Sisco was a law clerk for the Washington State

14   Office of the Attorney General Antitrust Division. She has worked on numerous cases on behalf of

15   professional and college athletes since joining Hagens Berman in 2015, including as a member of the

16   team in In re NCAA Grant-In-Aid Cap Antitrust Litigation, No. 14-md-02541 (N.D. Cal.) that

17   successfully defended its trial win before the Supreme Court and received the American Law

18   Institute’s award for Outstanding Antitrust Litigation Achievement in Private Law Practice in 2019

19   and 2021. She has served as a significant part of the team in this action.

20            32.      Stephanie Verdoia is an associate in Hagens Berman’s Seattle office and works on

21   antitrust class actions. Mrs. Verdoia has worked on numerous large antitrust class actions since she

22   joined Hagens Berman in 2021. She focuses predominantly on price-fixing antitrust class actions

23   including: Duffy v. Yardi Systems Inc., et al., 2:23-cv-01391-RSL (W.D. Wash.), Gibson v. Cendyn

24   Group, LLC, et al., 2:23-cv-00140-MMD-DJA (D. Nev.), and State of Arizona, et al., v, RealPage

25   Inc., et al., cv-2024-003889 (Sup. Ct. Az.). As well as large MDL consumer class actions such as: In

26   re: Evenflo Company, Inc., Marketing, Sales Practices and Products Liability Litigation, 1:20-md-

27   02938-DJC (D. Mass.). She has served as a major part of the team in this action, including playing a

28   major role in third-party discovery, class certification, and settlement administration.
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 1            I declare under penalty of perjury under the laws of the United States that the foregoing is

 2   true and correct.

 3            Executed this 17th day of December, 2024 at Seattle, Washington.

 4
                                                                      /s/ Steve W. Berman
 5                                                                   STEVE W. BERMAN
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     BERMAN DECL. IN SUPP. OF MOT.             -9-
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             EXHIBIT A
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                                      EXHIBIT 1


                        Hagens Berman Sobol Shapiro LLP
                        HUBBARD LODESTAR TOTALS
                    INCEPTION THROUGH DECEMBER 9, 2024

ATTORNEY             TITLE            TOTAL       HOURLY        LODESTAR AT
                                      HOURS        RATE        CURRENT RATES
Steve Berman         Partner           126.80     $1,350.00        $ 171,180.00
  Ben Siegel        Of Counsel         401.10      $850.00         $ 340,935.00
   Meredith         Associate           40.60      $550.00          $ 22,330.00
   Simons
Emilee Sisco        Associate          499.30     $450.00          $ 224,685.00
  Stephanie         Associate          457.70     $400.00          $ 183,080.00
   Verdoia
 Sophia Chao      Staff Attorney        59.30     $500.00            $ 29,650.00
Jessica Liang     Staff Attorney        77.40     $425.00            $ 32,895.00
 Jason Stowe      Staff Attorney        95.00     $425.00            $ 40,375.00
Georgia Beake    Contract Attorney      96.20     $375.00            $ 36,075.00
                  ATTORNEY            1,853.40                     $ 1,081,205.00
                     TOTAL
   NON-              TITLE            TOTAL       HOURLY        LODESTAR AT
ATTORNEYS                             HOURS        RATE        CURRENT RATES
 Brian Miller        Paralegal         115.30     $400.00           $ 46,120.00
   Joseph            Paralegal          4.70      $400.00            $ 1,880.00
   Salonga
Shelby Taylor        Paralegal          35.20     $350.00           $ 12,320.00
Radha Kerzan         Paralegal           6.30     $350.00            $ 2,205.00
 Chan Lovell    Paralegal Assistant      0.30     $300.00              $ 90.00
                NON-ATTORNEY           161.80                       $ 62,615.00
                     TOTAL

                GRAND TOTAL           2,015.20                     $ 1,143,820.00
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                                     EXHIBIT 2


                 Hagens Berman Sobol Shapiro LLP
HUBBARD SUMMARY OF ATTORNEY HOURS BY LITIGATION ACTIVITY TYPE
            INCEPTION THROUGH DECEMBER 9, 2024

   LITIGATION ACTIVITY                ATTORNEY                  LODESTAR
                                        HOURS
 Investigation and Fact Discovery        168.10                 $ 100,825.00
        Analysis/Strategy                47.20                      $ 34,100.00
        Written Discovery                83.80                      $ 46,200.00
       Document Review                   408.80                 $ 179,820.00
            Motions                      664.90                 $ 401,060.00
       Experts/Consultants               105.90                     $ 81,250.00
           Depositions                   184.20                 $ 118,955.00
Client and Class Communications          32.70                      $ 14,235.00
           Settlement                    164.10                 $ 106,965.00
        File Maintenance                 155.50                     $ 60,410.00

                                        2,015.20                $ 1,143,820.00
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                                 EXHIBIT 3


                  Hagens Berman Sobol Shapiro LLP
                   HUBBARD EXPENSE REPORT
              INCEPTION THROUGH DECEMBER 9, 2024

             CATEGORY OF EXPENSES                                  AMOUNT
                          Airfare                                  $ 1,044.16
          Court Reporters/Deposition Transcripts                     $ 34.80
                    Overnight Shipping                              $ 228.27
                        Filing Fees                                $ 1,358.00
      Internal Prints/Copies/Scans at $0.25 per page                $ 521.25
                           Hotel                                    $ 683.77
                           Meals                                    $ 124.80
      Online Research (LexisNexis/Westlaw/PACER)                    $ 666.39
                  Ground Transportation                             $ 236.15
                         Parking                                     $ 74.00
                         TOTAL                                     $ 4,971.59
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             EXHIBIT D
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                                    EXHIBIT 4


             HUBBARD LITIGATION FUND EXPENDITURE SUMMARY
Experts & Analysis                                       $ 270,778.34
Brian Fitzpatrick                                           $ 8,333.34
OSKR, LLC                                                $ 262,445.00

Document Collection, Review, & Synthesis                                   $ 77.25

Everlaw, Inc.                                                              $ 77.25

Deposition, Transcription & Videography                                 $ 5,182.67

Esquire Deposition Solutions                                            $ 5,182.67

                                   TOTAL                              $ 276,038.26
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             EXHIBIT E
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RELEVANT EXPERIENCE



Litigation Against NCAA
20 YEARS OF LEVELING THE PLAYING FIELD FOR COLLEGE ATHLETES


ACTIVE NCAA LITIGATION
 CASE                                                           STATUS             POSITION                RESULT
 In re: National Collegiate Athletic Association Athletic
                                                                                                        $208 Million
 Grant-In-Aid Cap Antitrust Litigation                          Settled         Co-Lead Counsel
 In re: National Collegiate Athletic Association Student-
                                                                                                         $75 Million
 Athlete Concussion Injury Litigation                           Settled          Lead Counsel
 Keller et al v. Electronic Arts and National Collegiate
                                                                                                         $60 Million
 Athletic Association                                           Settled         Co-Lead Counsel
                                                                Settled,
                                                                                                    $2.78 Billion Pending
 In re College Athlete NIL Litigation                         Preliminary
                                                                                                       Final Approval
                                                            Approval Granted    Co-Lead Counsel


College athletes have long been an integral part of one of the largest media conglomerates in U.S. history,
college sports. The most necessary and skilled component of the NCAA’s moneymaking venture, they
historically have also been the least compensated, mercilessly denied fair compensation for their talent, their
image use and rights, their injuries and their rights to college transfers. Our legal team is on their team.

No other law firm has stood against the NCAA as comprehensively as Hagens Berman, which has successfully
brought class-action litigation against the NCAA concerning concussions; name, image and likeness (NIL)
rights; and caps on grants-in-aid payments made to college athletes by schools and conferences.

NCAA Grants-in-Aid Scholarships Litigation (aka “Alston case,” in the press)
$208 Million Settlement, Permanent Injunction Upheld by the U.S. Supreme Court
Hagens Berman’s antitrust class action, claiming the NCAA had violated the law when it kept the class from
being able to receive compensation other than cash by schools or conferences for athletic services,
culminated in a $208 million settlement. The Supreme Court upheld the favorable opinion of the Ninth Circuit
in a 9-0 ruling. Justice Kavanaugh’s opinion further underscored the massive win for plaintiffs and the ruling’s
ongoing effects.

NCAA Name, Image and Likeness (NIL) Litigation
$2.78 Billion Settlement, Pending Final Approval
Using the Alston precedent, Hagens Berman’s NIL lawsuit accuses the NCAA and conferences of illegally
limiting the compensation that Division I college athletes may receive for the use of their names, images,
likenesses and athletic reputations. Thousands of college athletes have taken advantage of the NIL
opportunities opened by the Alston case to the tune of multimillion-dollar deals now available to them since
the NCAA loosened its restrictions on July 1, 2021. In 2023, three classes of college athletes were certified
regarding damages in the case, meaning, the NCAA faces monetary loss in the lawsuit, not just court action
restraining its antitrust behavior. Damages were based on payments college athletes would have received if
not for the NCAA’s restraints. These revenues include those from three areas: television broadcasts, video
games and other revenue sources and led to the historic $2.78 billion settlement reached in October 2024.




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NCAA Concussions
$75 Million Settlement, 50-year Medical Monitoring Fund
The firm’s lawsuit against the NCAA concerning concussions culminated in a proposed settlement that will
provide a 50-year medical-monitoring program for student-athletes to screen for and track head injuries;
make sweeping changes to the NCAA’s approach to concussion treatment and prevention; and establish a $5
million fund for concussion research, approved by the court.

NCAA Video Game Likeness
$60 Million in Combined Settlements
Hagens Berman brought this groundbreaking case that marked the first time in the history of the NCAA that
the organization is paying student-athletes for rights related to their play on the field, compensating them for
their contribution to the profit-making nature of college sports. The settlements were reached in 2014, and
more than 24,000 student-athletes were found eligible to receive payment under the settlements. Checks
were issued to approximately 15,000 players, some for up to $7,600, with a median amount of $1,100.


PRIOR FOUNDATIONAL CASES

2004 | NCAA Walk-On Players Andy Carroll v. NCAA
Hagens Berman began its representation of NCAA college athletes seeking to represent a proposed class of
thousands of walk-on players claiming the NCAA’s cost-cutting scholarship restrictions exploited them. The
lawsuit accused the NCAA of illegal restraint while “stadiums gain glitz and coaches get rich.” According to
the lawsuit, prior to 1977, schools were permitted to offer as many scholarships as they deemed appropriate,
but today the NCAA limits the number to 85.

2008 | NCAA Consumer Ticket Prices George et al. v. NCAA and Ticketmaster
In this proposed class action, Hagens Berman accused the NCAA and Ticketmaster of operating illegal
lotteries to sell and distribute tickets to certain NCAA Division 1 championship tournaments. The lawsuit
sought to represent consumers who attempted to buy tournament tickets by participating in lotteries set up
by the NCAA.

2009 | Video Game NIL Samuel Keller et al v. Electronic Arts Inc and National Collegiate Athletic
Association
Hagens Berman filed a class-action lawsuit against the NCAA and Electronic Arts, Inc. claiming the companies
illegally use college football and basketball players' names and likenesses in video games without permission
or consent from the player. The Keller case established college athletes’ right to recover the value of their NIL
if it was used without their consent, and Alston went on to show that not permitting those rights to be
managed by the student-athletes themselves was improper.

2009 | Video Game NIL O’Bannon v. NCAA
In a separate lawsuit, the firm represented former UCLA basketball player Ed O’Bannon in a case challenging
the NCAA’s use of college athlete publicity rights in television broadcasts. The O’Bannon case was denied
class certification, and a federal judge’s favorable ruling on the case’s claims was partially reversed by an
appeals court in 2015. It was denied review by the Supreme Court in 2016.

2010 | NCAA Financial Aid & Compensation Agnew v. NCAA
In Agnew v. NCAA, the firm filed a proposed national class-action lawsuit claiming the authority governing
most aspects of collegiate sports has conspired with colleges and universities to impose artificial limits on
sports scholarships, actions the suit claims violate federal antitrust laws. The lead plaintiff in the lawsuit,


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former Rice University football player Joseph Agnew, had been heavily recruited by several top-tier Division I
schools. Agnew accepted a full scholarship to Rice and played football starting in 2006 as a freshman. During
his sophomore year, the coach who recruited Agnew left Rice to coach at another Division I school, and
Agnew saw his playing time significantly reduced under the new coaching regime, according to the lawsuit.

2011 | NCAA Concussions Owens et al. v NCAA
In this proposed class action, the firm represented Andre Owens, a former Howard University football player,
against the NCAA and the university, claiming “…up until 2010, Defendants NCAA and Howard kept players
and the public in the dark about an epidemic that was slowly killing former college athletes.” In a single
football season, the complaint reads, athletes absorb more than 1,000 impacts greater than 10 Gs
(gravitational forces), with the majority of them exceeding 20 Gs, and some approaching 100 Gs or force.

2012 | NCAA Concussions Arrington et al. v NCAA
This class action merged the Owens case with claims from various plaintiffs – Derek Owens, Mark Turner and
Angela Palacio. to bring further pressure on the NCAA, urging swift action to minimize impacts of the NCAA’s
alleged ongoing negligence and oversight concerning concussions, protocols and return-to-play guidelines.

2012 | NCAA Financial Aid & Compensation Rock v. NCAA
A highly recruited college quarterback whose scholarship was revoked after a coaching change challenged
the NCAA in court, claiming that the organization’s limits on scholarships violate federal antitrust laws. Rock
was recruited by a number of Division I schools, and ultimately decided to attend Gardner-Webb University in
North Carolina after the school offered a football scholarship. The coach at Gardner-Webb allegedly
promised Rock that as long as he remained eligible for competition and kept his grades up, he would get to
keep his scholarship. However, shortly after Rock agreed to take an internship, Wardner-Webb replaced its
football coach. The new coach questioned Rock’s commitment to the team and expressed dissatisfaction
with his choice to accept the internship, which would necessitate missing some practice sessions, the
complaint states. Ultimately, Rock’s scholarship was revoked.

2013 | NCAA Concussions Silk v. Bowling Green University
In the continued fight for college athletes’ health and wellness, Hagens Berman filed a lawsuit against
Bowling Green State University and its football staff members on behalf of a former college athlete, Cody Silk,
alleging that they failed to protect the player from multiple concussions and residual head trauma.

2014 | NCAA Concussions Walen v. Portland State University et al.
Hagens Berman filed a lawsuit on behalf of player Zach Walen against Portland State University, Oregon
Health Sciences University and the NCAA for failing to provide appropriate post-concussion medical care and
negligently clearing him to return to football. Walen, whose father Mark Walen is a former NFL (Dallas
Cowboys) player and former NCAA college football athlete, was recruited to play football for the PSU Vikings
but suffered a severe concussion after receiving a direct blow to his head during his first game on Sept. 1,
2012.

2014 | NCAA Financial Aid & Compensation Alston v. NCAA et al
Hagens Berman filed the first-of-its-kind lawsuit alleging that the NCAA and these five Power Conferences
have systematically colluded to disrupt the free market and deprive FBS football and Division I men’s and
women’s basketball players of the full economic benefits of their labor. According to the complaint, NCAA
rules artificially depress the value of athletic scholarships — known as Grants-in-Aid or GIAs — to typically
several thousand dollars less per year, per player, than the actual cost to attend an NCAA school.
In late 2017, U.S. District Judge Claudia Wilken granted final approval of a $208 million settlement on behalf
of the tens of thousands of current and former college-athletes impacted by the prior NCAA cap on grant-in-
aid scholarships. On Sept. 23, 2021, the NCAA’s Southeastern Conference (SEC) became the first conference

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to formally allow college-athletes to begin receiving the education-based benefits resulting from the
Supreme Court’s 9-0 ruling in Hagens Berman’s Alston case. Schools are now allowed to provide benefits
tethered to education up to $6,000 per year.

2014 | NCAA Financial Aid & Compensation Kindler v. NCAA et al
On behalf of a former college football player, Hagens Berman filed an antitrust class-action lawsuit against
the NCAA and its most powerful conference members claiming they agreed in violation of national antitrust
laws to unlawfully cap the value of athletic scholarships. The plaintiff, former West Virginia University
offensive lineman Nick Kindler, contended that the NCAA’s valuation of athletic scholarships is far below the
actual cost of attending school, and far below what the free market would bear. The firm planned that the
Alston and Kindler cases be combined so that the players could fight together for the rights of all football
players in the major conferences.

2015 | NCAA Insurance & Medical Bills
The firm investigated the rights to reimbursement for out-of-pocket medical expenses from athletic-related
injuries for those harmed by limited health insurance coverage for college athletes.

2015 | Transfer Rights Pugh v. NCAA
Former Weber State cornerback Devin Pugh filed this class-action lawsuit challenging the NCAA’s transfer
rules, alleging hypocrisy when coaches change jobs. Pugh was promised a four-year scholarship at Weber
State which was pulled when Wildcats coach Ron McBride retired in 2011. A year later, his grant-in-aid was
no longer promised by McBride’s successor.

2016 | Transfer Rights Deppe v. NCAA
The firm filed an antitrust class-action lawsuit on behalf of a Division I college-athlete at Northern Illinois
University against the NCAA, calling its transfer rules “unlawful” and anticompetitive. The lawsuit sought to
represent any NCAA Division I football player who, since November 2011, sought to transfer from one NCAA
Division I football school to another, but was athletically ineligible to participate in NCAA Division I football
for any period under the NCAA’s transfer rules.

2016 | Transfer Rights Vassar v. NCAA
In this proposed class action, the plaintiff, John “Johnnie” Vassar, was a men’s basketball player who joined
Northwestern during the 2014-2015 academic year. The suit states that the transfer rules established by the
NCAA and carried out by Northwestern, “restrict the freedom of student athletes in violation of antitrust
law.” After accepting an athletic scholarship to Northwestern, Johnnie was subjected to a variety of efforts
from the university to transfer and to take away his athletic scholarship, including verbal harassment, falsified
records of misconduct and more.

2020 | Name, Image and Likeness Rights House v. NCAA
Hagens Berman represents Grant House, a current member of ASU men’s swimming and diving team, and
Sedona Prince, a current member of the University of Oregon women’s basketball team, in a class-action
lawsuit against the NCAA. The lawsuit seeks to hold the NCAA accountable to college athletes via injunction
and damages for the NCAA’s alleged antitrust violations regulating the profits gained from the use of college
athletes’ names, images and likenesses.

2023 | Post-Alston Scholarship Payments | Hubbard v. NCAA
Hagens Berman filed this follow up lawsuit to Alston alleging that certain NCAA member schools have failed
to comply with the Alston ruling establishing that member schools may pay college athletes up to $5,980 in
funds as part of their recruiting, allegedly preventing college athletes from receiving the payments they
deserve.

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2023 | NCAA Pay-for-Play | Carter v. NCAA et al.
Hagens Berman filed a new lawsuit against the NCAA alleging it has violated antitrust laws via its rules
preventing student athletes from receiving a portion of television broadcast and other revenue produced by
their labor. The Power Five Conferences alone hold contracts that will generate $20 billion in TV broadcast
revenue, of which student athletes will not see a dime, and Hagens Berman believes this is a clear example of
illegal wage-fixing.

2023 | Rights to Fair Play: Title IX
Hagens Berman is investigating reports that a number of intercollegiate athletics programs may have violated
Title IX, a federal law that prohibits gender discrimination at publicly funded universities. For example,
reports found that, in the 2018-19 and 2019-20 seasons, for every dollar Division I schools spent on travel,
equipment and recruitment for male athletes, they spent only 71 cents on female athletes. Additionally,
some universities may have artificially inflated the number of women on their athletics rosters to make it
appear that they are in compliance with Title IX when they actually are not.




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RELEVANT EXPERIENCE



Antitrust Leadership Positions
Hagens Berman’s work in antitrust class-actions led to tremendous recoveries for consumers and
monumental victories in this complex area of law. Our antitrust legal team takes an innovative, efficient
approach to antitrust law and tries each case with unmatched determination and skill. This dedication has led
to historic recoveries, including the largest antitrust settlement in history at its time (Visa
Check/MasterMoney Antitrust Litigation), recovery to consumers totaling twice their losses (In Re: Elec.
Books Antitrust Litig.), one of the largest U.S. classes every certified (In re Broiler Chicken Antitrust Litigation)
and one of the largest certified indirect purchaser cases at the time (Keller et al v. Electronic Arts Inc and
National Collegiate Athletic Association). The firm also championed the two largest U.S. antitrust recoveries
in 2022, totaling nearly $800 million (In re: Ranbaxy Generic Drug Application Antitrust Litigation and In re
Glumetza Antitrust Litigation). Hagens Berman’s antitrust lawyers also recently culminated a legal blitz on the
NCAA, “leaving the NCAA more vulnerable than ever” (Associated Press) and “delivered a heavy blow”
(Washington Post) in NCAA Grants-in-Aid Scholarships Litigation and NCAA Name, Image and Likeness (NIL)
Litigation. The firm’s antitrust attorneys have been awarded as Elite Trial Lawyers by The National Law
Journal, a Practice Group of the Year by Law360 and have been highlighted for multiple Outstanding Antitrust
Litigation achievements by the American Antitrust Institute.

In a firm where sizable settlements and impactful victories are routinely achieved and awarded, our
successes have only spurred a greater dedication to our capabilities. We remain hungry for opportunities to
make the world a fairer place for consumers and to ensure the world’s largest corporations play by the rules.

Note: Cases may appear in more than one practice to give full picture of work in any one practice area.


SPORTS ANTITRUST LITIGATION
 CASE NAME                                       CASE NAME                    CASE NAME                  CASE NAME
                                                                         Damages Claims Settled;         $208 Million
 NCAA Athletic Grant-in-Aid Cap Antitrust      Co-Lead Counsel
                                                                      Injunction Granted After Trial
 NCAA/EA Video Games Likeness                  Co-Lead Counsel                   Settled                 $60 Million
 NCAA Student-Athlete Name, Image and                                   Settlement Submitted for
                                               Co-Lead Counsel                                           Multibillion
 Likeness                                                                 Preliminary Approval


BIG TECH ANTITRUST LITIGATION
 CASE NAME                                        POSITION                    CASE STATUS                SETTLEMENT
 Apple E-Books Antitrust Litigation            Co-Lead Counsel                   Settled                 $616 Million
 Apple iOS App Developers Antitrust              Class Counsel                   Settled                 $100 Million
 Google Play Store App Developers                                                Settled                  $90 Million
                                               Co-Lead Counsel
 Antitrust
 Amazon Buy Box Antitrust (U.K.)               Co-Lead Counsel                    Active
 Amazon E-Books Price-Fixing Antitrust         Co-Lead Counsel                    Active
 Amazon.com Antitrust (De Coster)              Co-Lead Counsel                    Active
 Amazon Online Retailer Consumer                                                  Active
                                            Interim Co-Lead Counsel
 Antitrust (Frame-Wilson)
 Facebook Antitrust                         Interim Co-Lead Counsel               Active



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AGRICULTURAL ANTITRUST LITIGATION
 CASE NAME                                        POSITION                    CASE STATUS                  SETTLEMENT
 Dairy Price-Fixing Litigation                   Class Counsel                    Settled                   $52 Million
 Poultry Processing Wage-Fixing Antitrust                             Settlements Reached, Litigation     $217.2 Million
                                            Interim Co-Lead Counsel      Ongoing with Remaining             Reached
                                                                               Defendants
 Broiler Chicken Antitrust                     Co-Lead Counsel             Settlements Reached             $181 Million
 Pork Antitrust                                Co-Lead Counsel             Settlements Reached              $95 Million
 Turkey Antitrust                           Interim Co-Lead Counsel        Settlements Reached             $4.62 Million
 Beef Antitrust                             Interim Co-Lead Counsel               Active


CONSUMER PROTECTION ANTITRUST LITIGATION
 CASE NAME                                        POSITION                    CASE STATUS                  SETTLEMENT
 EA Madden NFL Antitrust                         Class Counsel                    Settled                   $27 Million
 Real Estate Commissions Antitrust             Co-Lead Counsel             Settlements Reached             $730 Million
 Yardi Rent Price-Fixing Antitrust           Interim Class Counsel                Active


EMPLOYMENT ANTITRUST LITIGATION
 CASE NAME                                       CASE NAME                     CASE NAME                   CASE NAME
 Animation Workers Antitrust                   Co-Lead Counsel                    Settled                 $168.95 Million
                                                                      Settlements Reached, Litigation
                                                                                                          $217.2 Million
 Poultry Processing Wage-Fixing Antitrust   Interim Co-Lead Counsel      Ongoing with Remaining
                                                                                                            Reached
                                                                               Defendants


FEE OVERPRICING ANTITRUST LITIGATION
 CASE NAME                                        POSITION                    CASE STATUS                  SETTLEMENT
 Visa Check/MasterMoney Antitrust              Co-Lead Counsel                    Settled                   $25 Billion
                                                                                                           $66.7 Million
                                                                                                            Approved,
 Visa MasterCard ATM                           Co-Lead Counsel            Settlements in Progress
                                                                                                        $197.5 Preliminarily
                                                                                                            Approved


PHARMACEUTICAL FRAUD ANTITRUST LITIGATION
 CASE NAME                                       CASE NAME                     CASE NAME                   CASE NAME
 Glumetza Antitrust                            Co-Lead Counsel                    Settled                 $453.85 Million
 Suboxone Antitrust                            Co-Lead Counsel                    Settled                  $385 Million
 Ranbaxy Inc. Antitrust                        Co-Lead Counsel                    Settled                  $340 Million
 Flonase Antitrust                             Co-Lead Counsel                    Settled                  $150 Million
 Prograf Antitrust                             Co-Lead Counsel                    Settled                   $98 Million
 Celebrex Antitrust                          Interim Lead Counsel                 Settled                   $94 Million
 Lipitor Antitrust                             Co-Lead Counsel                    Settled                   $93 Million
 Skelaxin Antitrust                              Lead Counsel                     Settled                   $73 Million
 Tricor Antitrust                              Co-Lead Counsel                    Settled                  $65.7 Million
 Allergan Restasis Antitrust                 Interim Lead Counsel                 Settled                 $51.25 Million



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 Toprol XL Antitrust                            Co-Lead Counsel                Settled                 $20 Million
                                             Lead Counsel & Interim
 Zetia Antitrust                                                               Settled                 Confidential
                                                 Class Counsel
 Generic Pharmaceuticals Pricing Antitrust            PSC               Settlement in Progress         $86 Million
 Intuniv Antitrust                                Lead Counsel          Settlements Reached
 Effexor XR Antitrust                         Interim Class Counsel            Active
 Gilead HIV Antiretroviral Antitrust            Co-Lead Counsel                Active
 Nexium Antitrust                               Co-Lead Counsel                Active
 Sensipar Antitrust Litigation                  Co-Lead Counsel                Active
 Tracleer Antitrust                             Co-Lead Counsel                Active
 Niaspan Antitrust                              Co-Lead Counsel                Active
 Actos Antitrust                             Interim Co-Lead Counsel           Active
 Vascepa Antitrust                           Interim Co-Lead Counsel           Active
 Xyrem Antitrust Litigation                           PSC                      Active




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RELEVANT EXPERIENCE



Antitrust Litigation Experience
SPORTS ANTITRUST LITIGATION
No other law firm has stood against the NCAA as comprehensively as Hagens Berman, which has successfully
brought antitrust class-action litigation against the NCAA concerning concussions; name, image and likeness
(NIL) rights; and caps on grants-in-aid payments made to college athletes by schools and conferences. Hagens
Berman has pioneered the area of sports litigation, fighting for the rights of student-athletes across the
nation, and our firm continues to expand this area of practice through our novel applications of the law.

 CASE                                                           STATUS                POSITION       RESULT
                                                           Damages Claims
NCAA Athletic Grant-in-Aid Cap Antitrust                  Settled; Injunction      Co-Lead Counsel     $208 Million
                                                          Granted After Trial
NCAA/EA Video Games Likeness Antitrust                          Settled            Co-Lead Counsel     $60 Million

                                                                Active                                 $2.78 Billion
                                                                                                        Settlement
NCAA Student-Athlete Name, Image and Likeness Antitrust    ✓ MTD Denied            Co-Lead Counsel
                                                                                                       Preliminarily
                                                           ✓ Class Certified                             Approved
                                                               Active
NCAA Transfer Antitrust
                                                            ✓ MTD Denied
NCAA College Athlete Scholarship Payments                        Active
NCAA Student-Athlete Pay to Play                                 Active



AGRICULTURAL ANTITRUST LITIGATION
The firm’s total settlements in this area of litigation are valued at more than $636.32 million and have
affected the lives of U.S. consumers and employees in the meat-processing industry. As inflation continues to
rise, combatting anticompetitive schemes raising the cost of food is an issue pertinent to families across the
nation.
 CASE                                                         STATUS                  POSITION           RESULT
Dairy Price-Fixing Litigation                                 Settled               Class Counsel      $52 Million
                                                                                                       $95 Million,
                                                               Active
Pork Antitrust                                                                     Co-Lead Counsel      Litigation
                                                          ✓ Class Certified
                                                                                                        Ongoing
                                                               Active                                  $181 Million
Broiler Chicken Antitrust                                 ✓ MTD Denied             Co-Lead Counsel     Preliminarily
                                                          ✓ Class Certified                             Approved
                                                               Active                  Interim
Beef Antitrust
                                                          ✓ MTD Denied             Co-Lead Counsel
                                                               Active                  Interim
Turkey Antitrust
                                                          ✓ MTD Denied             Co-Lead Counsel
Southwest Dairy Farmer Antitrust                               Active




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CONSUMER PROTECTION ANTITRUST LITIGATION
Hagens Berman’s consumer-focused approach has led to historic verdicts and achievements, making real
change happen. Our cases have affected millions of consumers and continue to impact everyday lives each
year.

 CASE                                                           STATUS                 POSITION                RESULT

EA Madden NFL Antitrust                                         Settled              Class Counsel           $27 Million

                                                                                                            Confidential
Hotel Room Overpricing                                          Settled
                                                                                                            Settlement
                                                                                                            $418 Million
                                                                 Active                                       Approved,
Real Estate Commissions Antitrust                           ✓ MTD Denied            Co-Lead Counsel       Additional $229.8
                                                            ✓ Class Certified                             Million at Various
                                                                                                                Stages
                                                                                                            $27.5 Million
SmileDirectClub Aligners Price-Fixing Antitrust                  Active                                      Settlement
                                                                                                              Reached
                                                               Active
Las Vegas Hotels Price-Fixing Antitrust
                                                            ✓ MTD Denied

Yardi Rent Price-Fixing Antitrust – Nationwide                   Active           Interim Class Counsel

PayPal Fees Antitrust                                            Active




EMPLOYMENT ANTITRUST LITIGATION
Hagens Berman’s antitrust legal team focuses on improving the lives of everyday people, including
investigating and litigating instances of wage-fixing. The firm has secured settlements in various areas of
employment, often in those whose employers hire veterans and other marginalized communities.

 CASE                                                           STATUS                 POSITION                RESULT

 Animation Workers Antitrust                                    Settled             Co-Lead Counsel         $169 Million
                                                               Active                   Interim           $217.2 Million at
 Poultry Processing Wage-Fixing Antitrust
                                                            ✓ MTD Denied            Co-Lead Counsel        Various Stages
                                                               Active                                     $200.2 Million at
 Red Meat Processing Wage-Fixing Antitrust
                                                            ✓ MTD Denied                                   Various Stages
 Aerospace Employee Wage-Fixing Antitrust                        Active
 Naval Architects and Marine Engineers Wage-Fixing
                                                                 Active
 Antitrust



FEES ANTITRUST LITIGATION
One of our firm’s key strengths is its eye for detail. Hagens Berman’s legal team includes attorneys versed in
forensic accounting, and between our legal team and hired experts, we leave no stone unturned, uncovering
fraud in the area of fees and unlawful antitrust schemes.



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 CASE                                                        STATUS               POSITION             RESULT

Visa Check/MasterMoney Antitrust                             Settled           Co-Lead Counsel        $25 Billion
                                                                                                    $66.7 Million,
Visa MasterCard ATM Antitrust                                Active            Co-Lead Counsel      $197.5 Million
                                                                                                      Pending
PayPal Fees Antitrust                                        Active



ANTITRUST LITIGATION AGAINST HIGH TECH COMPANIES
Hagens Berman brings cutting edge cases against major tech companies. We leverage our resources, breadth
of knowledge and expert litigation strategies against harmful anticompetitive practices, price-fixing and other
instances of antitrust schemes perpetrated by Big Tech. While some of these companies believe they are too
big to fail, our firm is well-practiced in uncovering wrongdoing and holding responsible parties accountable
for widespread anticompetitive practices that can harm millions.

                                               PRIMARY
                       CASE                  PRACTICE AREA       STATUS              POSITION           RESULT

Apple E-Books Antitrust Litigation             Antitrust         Settled          Co-Lead Counsel     $616 Million
Apple iOS App Developers US                    Antitrust         Settled           Class Counsel      $100 Million
Google Play Store App Developers               Antitrust         Settled          Co-Lead Counsel     $90 Million
Amazon Online Retailer Consumer Antitrust      Antitrust         Active               Interim
(Frame-Wilson)                                                ✓ MTD Denied        Co-Lead Counsel
                                               Antitrust         Active
Amazon Buy Box U.K.                                          ✓ Permission to      Co-Lead Counsel
                                                             Appeal Refused
                                               Antitrust         Active
Amazon E-Books Price-Fixing                                                       Co-Lead Counsel
                                                              ✓ MTD Denied
                                               Antitrust         Active
Amazon.com Antitrust (De Coster)                                                  Co-Lead Counsel
                                                              ✓ MTD Denied
                                               Antitrust         Active               Interim
Facebook Antitrust
                                                              ✓ MTD Denied        Co-Lead Counsel
                                               Antitrust         Active
Amazon.com Consumer Fraud
                                                              ✓ MTD Denied
Apple & Amazon.com iPhone & iPad               Antitrust         Active
Overpricing Antitrust                                         ✓ MTD Denied
                                               Antitrust         Active
Apple Pay Payment Card Issuer Antitrust
                                                              ✓ MTD Denied
Amazon Buy Box U.S.                            Antitrust          Active
Apple iCloud Antitrust                         Antitrust          Active
Apple iPhone Overpricing Antitrust             Antitrust          Active




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MANUFACTURER PRICE-FIXING ANTITRUST LITIGATION
In antitrust law, price-fixing schemes are cloistered within heavily shrouded groups of major market kingpins.
Therein, they seek to protect and hide their behavior. Manufacturing is a common landscape for this
behavior, and our antitrust team is well-versed in investigating antitrust fraud in this space.

 CASE                                                      STATUS               POSITION            RESULT

Batteries Antitrust                                         Settled          Co-Lead Counsel      $113 Million
DRAM Manufacturers                                          Settled           Class Counsel       $406 Million
LG Philips and Toshiba LCD                                  Settled                               $470 Million
Optical Disc Drives (ODD)                                   Settled           Lead Counsel        $205 Million
Panasonic Resistors Antitrust                               Settled          Co-Lead Counsel       $50 Million



PHARMACEUTICAL FRAUD ANTITRUST LITIGATION
In the pharmaceutical arena, Hagens Berman represents purchasers of all types in lawsuits alleging that drug
companies illegally blocked or delayed generic drugs from coming to market. By keeping generics out of the
market, drug companies force purchasers to continue buying their expensive brand-name drugs, lining drug
companies' pockets at the expense of those who pay for drugs. Our firm's pharmaceutical antitrust
recoveries have returned many hundreds of millions of dollars to purchasers.

 CASE                                                      STATUS              POSITION             RESULT
Glumetza Antitrust                                         Settled          Co-Lead Counsel       $453 Million
                                                                           Co-Lead Counsel,
Suboxone Antitrust                                         Settled                                $385 Million
                                                                         Direct Purchaser Class
Ranbaxy Inc. Antitrust                                     Settled          Co-Lead Counsel       $340 Million
Flonase Antitrust                                          Settled          Co-Lead Counsel       $150 Million
Prograf Antitrust                                          Settled          Co-Lead Counsel       $98 Million
Celebrex Antitrust                                         Settled        Interim Lead Counsel    $94 Million
Lipitor Antitrust                                          Settled          Co-Lead Counsel       $93 Million
Relafen Antitrust                                          Settled                                $75 Million
Skelaxin Antitrust                                         Settled           Lead Counsel         $73 Million
Tricor Antitrust                                           Settled          Co-Lead Counsel       $65 Million
Allergan Restasis Antitrust                                Settled        Interim Lead Counsel    $51 Million
Toprol XL Antitrust                                        Settled          Co-Lead Counsel       $20 Million
                                                                             Lead Counsel &       Confidential
Zetia Antitrust                                            Settled
                                                                          Interim Class Counsel     Terms
                                                                                                   $86 Million
                                                                           Plaintiffs' Steering
Generic Pharmaceuticals Pricing Antitrust                  Active                                 Preliminarily
                                                                               Committee
                                                                                                    Approved
                                                                            Interim Co-Lead
Actos Antitrust                                            Active
                                                                                Counsel
Effexor XR Antitrust                                       Active         Interim Class Counsel
Gilead HIV Antiretroviral Antitrust                        Active           Co-Lead Counsel



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Intuniv Antitrust                                 Active            Lead Counsel
                                                                  Co-Lead Counsel,
Niaspan Antitrust                                 Active
                                                                Direct Purchaser Class
Sensipar Antitrust Litigation                     Active          Co-Lead Counsel
Tracleer Antitrust                                Active          Co-Lead Counsel
                                                                   Interim Co-Lead
Vascepa Antitrust                                 Active
                                                                       Counsel
                                                                  Plaintiffs' Steering
Xyrem Antitrust Litigation                        Active
                                                                      Committee
Amitiza Antitrust                                 Active
Copaxone Antitrust                                Active
Eylea Antitrust                                   Active
Lantus (Insulin Glargine) Antitrust               Active
Pomalyst (Pomalidomide) Antitrust                 Active
Revlimid Antitrust                                Active
Stelara Antitrust                                 Active




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TEAM



                                    MANAGING PARTNER

                                    Steve W. Berman

                                    Served as co-lead counsel against Big Tobacco, resulting in the
                                    largest settlement in world history, and at the time the largest
                                    automotive, antitrust, ERISA and securities settlements in U.S.
 steve@hbsslaw.com
                                    history

 T 206-623-7292
                                    INTRODUCTION
 F 206-623-0594
                                    Steve Berman has dedicated this career as a class-action plaintiffs’ lawyer to improving
 1301 Second Avenue                 the lives of those most in need. He represents large classes of consumers, investors and
 Suite 2000                         employees in large-scale, complex litigation held in state and federal courts. Steve's
 Seattle, WA 98101                  trial experience has earned him significant recognition and led The National Law Journal
                                    to name him one of the 100 most powerful lawyers in the nation, and to repeatedly
 YEARS OF EXPERIENCE                name Hagens Berman one of the top 10 plaintiffs’ firms in the country. Steve’s class-
 44                                 action lawsuits have led to record-breaking settlements, historic changes to industries
                                    and made real change possible for millions of individuals.
 PRACTICE AREAS
                                    Steve co-founded Hagens Berman in 1993 after his prior firm refused to represent
 Anti-Terrorism
                                    several young children who consumed fast food contaminated with E. coli — Steve
 Automotive Litigation
                                    knew he had to help. In that case, Steve alleged that the poisoning was the result of
 Civil & Human Rights
 Class Action
                                    Jack in the Box’s cost cutting measures and negligence. He was further inspired to build
 Consumer Rights
                                    a firm that vociferously fought for the rights of those most in need. Berman’s innovative
 Emissions Litigation
                                    approach, tenacious conviction and impeccable track record have earned him an
 Environmental Litigation
                                    excellent reputation and numerous historic legal victories. He is considered one of the
 Governmental Representation
                                    nation’s most successful class-action attorneys and has been praised for securing
 High Tech Litigation               tangible benefits for class members, as well as outstanding monetary relief. Steve is
 Intellectual Property              particularly known for his tenacity in forging settlements that return a high percentage
 Investor Fraud                     of recovery or meaningful industry change to class members.
 Patent Litigation                  Print & Online Feature Interviews »
 Qui Tam
 Securities                         CURRENT ROLE
 Sexual Abuse & Harassment          • Managing Partner of Hagens Berman Sobol Shapiro LLP and Hagens Berman EMEA
 Sports Litigation                    LLP (U.K.), U.S. Managing Member of HBSS France
 Whistleblower
                                    CURRENT CASES
 BAR ADMISSIONS
                                    Steve leads the firm’s efforts in the areas of antitrust, consumer protection and more,
  Illinois
                                    maintaining a leading edge amid shifting trends and technology. His active cases
  Washington
                                    concern billions of dollars in damages and affect hundreds of millions of individuals.
  Foreign Registered Attorney in
                                    Steve’s caseload spans several industries, including technology, college sports,
   England and Wales
                                    agriculture and wages and include the following highlights.
 COURT ADMISSIONS

  Supreme Court of the United
   States
                                    ANTITRUST LITIGATION




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  U.S. Court of Appeals for the      The antitrust lawsuits that Steve Berman has led have secured settlements valued at
   First Circuit                      more than $27 billion, spotlighting anticompetitive practices that have harmed
  U.S. Court of Appeals for the      consumers across various industries. Steve’s outstanding work in this field has earned
   Second Circuit                     the firm accolades and awards, and his current caseload speaks to the breadth of the
  U.S. Court of Appeals for the      firm’s impact.
   Third Circuit
  U.S. Court of Appeals for the       CASE                          DESCRIPTION
   Fifth Circuit                                                     Class action against Amazon for violating state consumer protection
  U.S. Court of Appeals for the       Amazon Buy Box                laws through the alleged use of a biased algorithm
   Sixth Circuit                                                     Status: Complaint filed
  U.S. Court of Appeals for the
   Seventh Circuit                                                   Class action accusing Amazon of establishing an illegal monopoly of
                                       Amazon E-Books Price-Fixing
                                                                     the e-books market and charging artificially inflated prices
  U.S. Court of Appeals for the       Co-Lead Counsel
                                                                     Status: Court denies Amazon’s motion to dismiss monopoly claims
   Eighth Circuit
  U.S. Court of Appeals for the       Amazon Online Retailer
                                                                     Class action accusing Amazon of increasing prices for online
   Ninth Circuit                       Consumer Antitrust (Frame-
                                                                     purchases made via other retailers
  U.S. Court of Appeals for the       Wilson)
                                                                     Status: Amazon’s motion to dismiss claims denied
   Tenth Circuit                       Interim Co-Lead Counsel
  U.S. Court of Appeals for the
                                                                     Class action accusing Amazon of violating federal antitrust laws,
   Eleventh Circuit                    Amazon.com Antitrust
                                                                     causing customers to pay artificially high prices for products
                                       (De Coster)
  U.S. Court of Appeals for the                                     purchased via Amazon
                                       Co-Lead Counsel
   D.C. Circuit                                                      Status: Motion to dismiss denied
  U.S. Court of Appeals for the
                                                                     Class action accusing Apple of violating antitrust laws and
   Federal Circuit
                                                                     establishing a monopoly through its iOS cloud-based storage
  U.S. Court of Federal Claims        Apple iCloud Antitrust
                                                                     policies
  U.S. District Court for the                                       Status: Complaint filed
   District of Colorado
  U.S. District Court for the                                       Class action accusing Apple of intentionally monopolizing the
   Northern District of Illinois                                     billion-dollar mobile wallet market on iOS platforms, forcing
                                       Apple Pay Payment Card
                                                                     payment card issuers to pay supracompetitive fees and stifling
  U.S. District Court for the         Issuer Antitrust
                                                                     innovation
   Central District of Illinois                                      Status: Motion to dismiss denied in part
  U.S. District Court for the
   Eastern District of Michigan                                      Class action representing current and former NCAA college athletes
  U.S. District Court for the         NCAA Student-Athlete Name,    accusing the NCAA and its conferences of illegally limiting the
   Eastern District of Washington      Image and Likeness            compensation athletes may receive for the use of their names,
                                       Co-Lead Counsel               images and likenesses
  U.S. District Court for the
                                                                     Status: Preliminary approval of $2.78 billion settlement granted
   Western District of Washington
  Supreme Court of Illinois           Real Estate Commissions       Class action against four national broker franchises alleging parties
  Supreme Court of Washington         Antitrust                     illegally inflated commissions associated with home sales
                                       Co-Lead Counsel               Status: Settlements reached totaling $693.2 million
 EDUCATION
                                                                     Class action alleging that Visa and MasterCard, with BofA, JP
                                                                     Morgan Chase and Wells Fargo, established uniform agreements
                                                                     with U.S. banks, preventing ATM operators from setting access fees
                                       Visa Mastercard ATM           below the level of fees charged on Visa’s and MasterCard’s
 University of Chicago Law School,
                                       Co-Lead Counsel               networks
             J.D., 1980
                                                                     $197.5 million settlement with Visa and Mastercard receives
                                                                     preliminary approval, bringing total settlements to $264.2 million if
                                                                     approved

 University of Michigan, B.A., 1976   AGRICULTURE ANTITRUST LITIGATION
                                      The firm’s total settlements in this area of litigation is valued at more than $636.32
                                      million and have affected the lives of U.S. consumers and employees in the meat-
                                      processing industry. As inflation continues to rise, combatting anticompetitive schemes
                                      raising the cost of food is an issue pertinent to families across the nation.


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 AWARDS
                        CASE                           DESCRIPTION

                        Poultry Processing Wage-       Class action alleging wage-fixing agreement between the nation’s
                        Fixing Antitrust               biggest poultry companies
                        Interim Co-Lead Counsel        Status: Settlements reached totaling $217.2 million

                                                       Class action against the nation's largest meat processing companies
                        Red Meat Processing Wage-      alleging a yearslong wage-fixing agreement, causing employees to
                        Fixing Antitrust               receive far less than legally owed
                                                       Status: : Settlements pending before the court total $200.2 million

                                                       Class action alleging major food corporations engaged in illegal
                        Beef Antitrust
                                                       conduct regarding the marketing and sales of beef products
                        Interim Co-Lead Counsel
                                                       Status: Motion to dismiss denied

                                                       Class action accusing major food corporations of increasing the
                        Broiler Chicken Antitrust      price of chicken in violation of antitrust laws
                        Co-Lead Counsel                Status: Settlements totaling $181 million are pending court
                                                       approval, class certification granted

                                                       Class action alleging pork producers colluded to reduce pork
                        Pork Antitrust
                                                       production to artificially inflate prices
                        Co-Lead Counsel
                                                       Status: Settlements reached totaling $95 million

                                                       Class action alleging antitrust scheme by food corporations
                        Turkey Antitrust
                                                       Status: Settlement reached with Tyson for $4.62 million, seven
                        Interim Co-Lead Counsel
                                                       remaining defendants



                       AUTO DEFECT & EMISSIONS LITIGATION
                       Hagens Berman’s settlements in automotive defect and emissions lawsuits are
                       collectively valued at more than $21.4 billion and have led to significant safety
                       protocols and changes in the auto industry. Steve’s expertise leading complex litigation
                       has led him to be hand-selected to champion the rights of vehicle owners. He remains
                       dedicated to unearthing new instances of defect coverups, emissions cheating and
                       safety concerns, utilizing the firm’s resources to lead the charge against negligence.
                        CASE                           DESCRIPTION

                                                       Class action stemming from Hyundai and Kia’s failure to equip
                        Hyundai/Kia Car Theft Defect
                                                       nearly nine million vehicles with an immobilizer antitheft device
                        Co-Lead Counsel
                                                       Status: Settlement granted final approval

                                                       Following Hagens Berman’s $700 million settlement with Mercedes
                        Daimler Mercedes BlueTEC       for alleged emissions cheating in the U.S., the firm has taken an
                        Emissions – Australia          advisory role in comparable litigation against Daimler filed in
                        Advisory Role                  Australia.
                                                       Status: Pending and active

                                                       Class action alleging Fiat Chrysler/Stellantis and Cummins placed
                        FCA Dodge RAM 2500/3500
                                                       emissions-cheating defeat devices in affected RAM trucks
                        Emissions – 2007-2012 &
                                                       Status: 2007-2012 models: motion to dismiss denied in part; 2013-
                        2013-2023
                                                       2023 models: complaint filed

                                                       Class action against Fiat Chrysler/Stellantis alleging a defect in the
                        FCA Chrysler Pacifica Hybrid
                                                       design of Chrysler Pacifica hybrid minivans results in spontaneous
                        Minivan Fire Hazard
                                                       fires while vehicle is parked and off
                        Co-lead Counsel
                                                       Status: Motion to dismiss denied




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                                                         Class action alleging Chevy Silverado and GMC Sierra trucks with a
                        General Motors CP4 Fuel
                                                         Duramax diesel 6.6 V8 engine are equipped with a defective high-
                        Pump Defect
                                                         pressure fuel injection pump.
                        Class Counsel
                                                         Status: Class certification granted

                                                         Class action accusing VW of a manufacturing defect in the door
                        VW Atlas Wiring Harness
                                                         wiring harness of VW Atlas vehicles, allegedly causing vehicles’
                        Defect
                                                         systems to malfunction
                        Co-Class Counsel
                                                         Status: Settlement granted preliminary approval



                       SECURITIES LITIGATION
                       Hagens Berman’s total settlements in securities litigation valued at more than $2.9
                       billion, and Steve’s efforts in this area have helped to recover losses for millions of
                       individuals who have been blindsided by instances of fraud and disinformation
                       orchestrated by publicly traded companies.
                        CASE                             DESCRIPTION

                                                         Class action representing Plantronics investors seeking to recover
                        Plantronics, Inc. (NYSE: PLT)    damages caused by violations of the Securities Exchange Act of
                        Co-Lead Counsel                  1934
                                                         Status: Motion to dismiss denied

                                                         Class action against Vaxart and controlling shareholder, Armistice,
                        Vaxart, Inc. (NASDAQ: VXRT)
                                                         alleging claims under federal securities laws
                        Lead Counsel
                                                         Status:$12.015 million partial settlement reached

                        Zillow Group, Inc. (NASDAQ: Z,   Class action alleging defendants falsely touted the durability and
                        ZG)                              acceleration of Zillow Offers and improvements to pricing models
                        Lead Counsel                     Status: Motion to dismiss denied


                       RECENT SUCCESS
                       Steve Berman has achieved monumental settlements within the last two years, bringing
                       hundreds of millions of dollars of relief to classes of everyday individuals affected by
                       pricing schemes, automotive defects and other instances of wrongdoing. Through his
                       recent case work, Steve maintains Hagens Berman’s edge and excellence in class-action
                       litigation.
                        CASE NAME                             DATE          RECENT SUCCESS

                        NCAA Student-Athlete Name,
                                                                            $2.78 billion settlement receives preliminary
                        Image and Likeness                  10/10/24
                                                                            approval
                        Co-Lead Counsel

                        Hyundai / Kia Car Theft Defect
                                                            10/01/24        Settlement receives final approval
                        Co-Lead Counsel

                        Ford Super Duty Roof Crush          09/30/24        Court denies in part motion to dismiss

                        BMW X and 335d Diesel
                                                            09/25/24        Settlement receives final approval
                        Emissions

                        USAA Bank Interest & Fees
                                                            09/06/24        Settlement granted preliminary approval
                        Class Counsel

                        General Motors Duramax
                                                            08/22/24        Dismissal reversed by U.S. Court of Appeals
                        Emissions



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                                                                       Washington Supreme Court allows proposed
                        Amazon.com COVID-19 Price
                                                         08/08/24      class-action alleging price-gouging to move
                        Gouging Consumer Litigation
                                                                       forward

                        Visa MasterCard ATM                            $197.5 million settlement with Visa and
                                                         07/26/23
                        Co-Lead Counsel                                Mastercard receives preliminary approval

                        Seattle Children’s Hospital
                        Discrimination & Personal
                                                         05/16/24      Motion to dismiss WLAD claim denied
                        Injury
                        Counsel

                        Payback
                                                         05/13/24      Settlement receives final approval
                        Class Counsel

                        Real Estate Commissions
                                                                       $418 million settlement with NAR receives
                        Antitrust                        04/23/24
                                                                       preliminary approval
                        Co-lead Counsel

                        Hyundai / Kia Engine Fire
                        Hazard                           04/09/24      Settlement receives final approval
                        Co-lead Counsel

                        NCAA/EA Video Games
                                                                       10,000 athletes revive EA College Football
                        Likeness                         03/04/24
                                                                       Videogame following NIL litigation
                        Co-lead Counsel

                        University of Washington
                                                         06/29/23      Class certification granted
                        College Tuition Payback

                        Hyundai / Kia Hydraulic
                        Electronic Control Unit (HECU)   05/05/23      Settlement receives final approval
                        Fire Hazard

                        CP4 Fuel Pump Defect –
                                                         03/31/23      Motion to dismiss denied
                        GM/Ford/FCA

                        Pork Antitrust
                                                         09/27/22      Settlement agreements reached
                        Co-Lead Counsel

                                                                       California AG files similar case, echoing Hagens
                        Amazon.com Consumer Fraud        09/14/22
                                                                       Berman’s claims

                        Poultry Processing Wage-
                        Fixing Antitrust                 07/19/22      Motions to dismiss denied
                        Interim Co-Lead Counsel


                       CAREER HIGHLIGHTS
                       Steve’s career highlights encompass the top cases in world history both in their
                       historical significance and in their monetary relief. Steve’s total settlements are valued
                       at more than $316 billion, including the infamous Big Tobacco litigation of the 90s, and
                       have had major national impact. Steve’s career highlights include Enron pension
                       protection, justice for victims of Harvey Weinstein, restitution for those affected by
                       Volkswagen’s Dieselgate scandal, the complete remaking of college sports
                       compensation and more.




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                       His career focus remains clear: steadfast representation for those most in need across
                       the nation. Steve’s cases have brought widespread benefit to classes of individuals
                       spanning industries and decades. Lawsuits he has settled have reunited Hungarian
                       Holocaust survivors with priceless family heirlooms, and also enacted major changes in
                       youth soccer and NCAA sports to promote safety and minimize the risk of concussions.
                       Below are Steve’s outstanding career highlights.
                                                         SETTLEMENT
                        CASE/ROLE                                        NATIONAL IMPACT
                                                            VALUE

                                                                         Largest civil settlement in history
                        State Tobacco Litigation                         The multi-state agreement required tobacco
                        Special Assistant Attorney                       companies to pay the states $260 billion and
                                                         $260 billion
                        General Representing 13                          submit to broad advertising and marketing
                        States                                           restrictions, leaving a lasting and widespread
                                                                         impact.

                                                                         Largest antitrust settlement in U.S. history at
                                                                         the time
                        Visa Check/MasterMoney
                                                                         Agreements with Visa and Mastercard secured
                        Antitrust Litigation              $25 billion
                                                                         relief valued at as much as $25-87 billion, and
                        Co-lead Counsel
                                                                         injunctive relief reducing interchange rates,
                                                                         among other benefits.

                                                                         Largest ever brought against any automaker
                        Volkswagen/Porsche/Audi
                                                                         Hagens Berman’s automotive legal team was
                        Emissions Scandal
                                                                         the first to file in this historic lawsuit against
                        Plaintiffs’ Steering Committee   $14.7 billion
                                                                         Volkswagen for its emissions cheating and
                        and Settlement Negotiating
                                                                         masking of harmful pollutants, culminating in a
                        Team
                                                                         historic settlement.

                                                                         The firm achieved a monumental settlement on
                                                                         behalf of Volkswagen dealerships across the
                        Volkswagen Franchise
                                                                         U.S. blindsided by the automaker’s emissions
                        Dealerships                      $1.67 billion
                                                                         cheating, returning an average payment to each
                        Lead Counsel
                                                                         Dealer Settlement Class Member of
                                                                         approximately $1.85 million.

                                                                         Largest automotive settlement in history at
                                                                         the time
                        Toyota Sudden, Unintended
                                                                         The firm did not initially seek to lead this
                        Acceleration                     $1.6 billion
                                                                         litigation but was sought out by the judge for its
                        Co-lead Counsel
                                                                         wealth of experience in managing very complex
                                                                         class-action MDLs.

                                                                         The firm achieved a settlement in response to a
                        Hyundai / Kia Theta II GDI                       defect in 4.1 million Hyundai and Kia vehicles
                        Engine Fire Hazard Settlement    $1.3 billion    equipped with Theta II GDI engines putting
                        Co-lead Counsel                                  owners at risk for spontaneous, non-collision
                                                                         engine fires or premature engine failure.

                                                                         Spurred by the firm’s success in the Volkswagen
                                                                         Dieselgate case, Steve independently tested
                        Mercedes BlueTEC
                                                         $700 million    diesel vehicles across manufacturers,
                        Co-lead Counsel
                                                                         uncovering additional instances of emissions-
                                                                         cheating, masked via illegal defeat devices.




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                                                                    This antitrust lawsuit alleged Apple and five of
                                                                    the nation’s top publishers colluded to raise the
                                                                    price of e-books for U.S. consumers. Steve’s
                        Apple E-Books Antitrust                     litigation resulted in an unheard of recovery
                                                     $568 million
                        Co-lead Counsel                             equal to twice consumers' actual damages.
                                                                    Apple took the case to the U.S. Supreme Court,
                                                                    where it denied Apple’s request to review the
                                                                    case.

                                                                    Steve was named co-lead counsel in this action
                                                                    that led to a rollback of benchmark prices of
                        McKesson Drug Class                         hundreds of brand name drugs, and relief for
                        Litigation                   $350 million   third-party payers and insurers. His discovery of
                        Co-lead Counsel                             the McKesson scheme led to follow up lawsuits
                                                                    by governmental entities and recovery in total
                                                                    of over $600 million.

                                                                    Drug prices charged to consumers and payers
                                                                    across the nation are significantly more than the
                                                                    cost to produce them. In many cases, Big
                        Average Wholesale Price
                                                     $338 million   Pharma conspires with other companies to
                        Litigation
                                                                    create these false profits. Hagens Berman has
                                                                    helped several classes of plaintiffs obtain
                                                                    multimillion-dollar judgments.

                                                                    Attorneys represented 24,000 Enron employees
                                                                    claiming the company recklessly endangered
                        Enron Pension Protection
                                                                    retirement funds, causing some employees to
                        Litigation                   $250 million
                                                                    lose hundreds of thousands of dollars almost
                        Co-lead Counsel
                                                                    overnight, in a major economic milestone in U.S.
                                                                    history.

                                                                    Following the historic market crash in 2008,
                                                                    Hagens Berman filed this class action against
                        BoA Homeloans                $250 million   Bank of America, Countrywide and LandSafe,
                                                                    alleging their collusion was in direct violation of
                                                                    the RICO Act and other laws.

                        McKesson Governmental                       Steve was lead counsel for a nationwide class of
                        Entity Class Litigation      $82 million    local governments that resulted in a settlement
                        Lead Counsel                                for drug price-fixing claims.

                                                                    This historic settlement against JPMorgan
                                                                    involved three simultaneous, separately
                                                                    negotiated settlements totaling more than $2.2
                        JPMorgan Madoff Lawsuit      $218 million
                                                                    billion, in which Hagens Berman returned
                                                                    hundreds of millions of dollars on behalf of
                                                                    Bernard L. Madoff investors.

                                                                    Steve pioneered this historic case which forever
                                                                    changed NCAA sports and the lives of 53,748
                                                                    class members. The case culminated in a $208
                                                                    million settlement regarding damages and
                                                                    injunctive relief secured through a unanimous
                        NCAA Athletic Grant-in-Aid                  U.S. Supreme Court decision in favor of
                        Cap Antitrust                $208 million   plaintiffs. According to the Court, the NCAA
                        Co-lead Counsel                             “permanently restrained and enjoined from
                                                                    agreeing to fix or limit compensation or benefits
                                                                    related to education” that conferences or
                                                                    schools may make available. Schools are now
                                                                    allowed to provide benefits tethered to
                                                                    education up to $6,000 annually



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                                                                      Hagens Berman represented developers of iOS
                                                                      apps sold via Apple’s App Store or featuring in-
                                                                      app sales, alleging the tech giant engaged in
                                                                      anticompetitive practices that harmed
                                                                      developers. The settlement brings important
                        Apple iOS App Developers
                                                      $100 million    changes to App Store policies and practices. U.S.
                        Class Counsel
                                                                      iOS app developers with less than $1 million per
                                                                      year in proceeds from App Store sales through
                                                                      all associated developer accounts across the
                                                                      nation can receive hundreds to tens of
                                                                      thousands of dollars from the fund.

                                                                      This antitrust class action accused Google of
                                                                      monopolizing its Play Store through
                                                                      anticompetitive policies, affecting small
                        Google Play Store App
                                                                      businesses across the nation. Attorneys for the
                        Developers                     $90 million
                                                                      class of roughly 43,000 Android app developers
                        Co-lead Counsel
                                                                      say some class members will likely see
                                                                      payments in the hundreds of thousands of
                                                                      dollar

                                                                      In a showcase of Steve’s securities litigation
                        Zuora Investor Fraud                          expertise, this settlement achieved in 2023
                                                      $75.5 million
                        Lead Counsel                                  provides significant relief to purchasers of the
                                                                      securities of Zuora across the U.S.

                                                                      Hagens Berman served as lead counsel in this
                                                                      multidistrict litigation against the NCAA,
                                                                      achieving medical monitoring and injunctive
                        NCAA Concussions                              relief in the form of changes to concussion
                                                       $75 million
                        Lead Counsel                                  management and return-to-play guidelines. The
                                                                      lawsuit alleged the institutions neglected to
                                                                      protect college athletes from concussions and
                                                                      their aftermath at schools across the country.

                                                                      This first-of-its-kind lawsuit ushered in the first
                                                                      time that hardworking college athletes saw
                        NCAA/Electronic Arts Name                     some of the profits from the use of their
                        and Likeness                   $60 million    likeness in video games. More than 24,000
                        Co-lead Counsel                               individuals were eligible to receive payment,
                                                                      and checks were issued for up to $7,600, with a
                                                                      median around $1,100.

                                                                      As the #MeToo movement hit a fever pitch
                                                                      moment, Hagens Berman’s Steve Berman
                        Harvey Weinstein Sexual                       represented a class of those harmed by Harvey
                                                      $17.1 million
                        Harassment                                    Weinstein, a kingpin of sexual harassment in
                                                                      Hollywood. The firm litigated the case through
                                                                      to bankruptcy proceedings in 2020.

                                                                      Steve pioneered this first-of-its-kind lawsuit that
                                                                      ended heading for US Soccer’s youngest players
                        Youth Soccer Concussions                      to diminish risk of concussions and traumatic
                                                                      brain injuries, changing the game for youth
                                                                      players across the U.S.


                       ACTIVITIES
                       • In April of 2021, the University of Michigan School for Environment and Sustainability
                         (SEAS) launched the Kathy and Steve Berman Western Forest and Fire Initiative with
                         a philanthropic gift from Steve (BS ‘76) and his wife, Kathy. The program will improve


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                         society’s ability to manage western forests to mitigate the risks of large wildfires,
                         revitalize human communities and adapt to climate change. Steve studied at the
                         School of Natural Resources (now SEAS) and volunteered as a firefighter due to his
                         focus on environmental stewardship. Read more »
                       • In 2003, the University of Washington announced the establishment of the Kathy and
                         Steve Berman Environmental Law Clinic. The Berman Environmental Law Clinic draws
                         on UW’s environmental law faculty and extensive cross-campus expertise in fields
                         such as Zoology, Aquatic and Fishery Sciences, Forest Resources, Environmental
                         Health and more. In addition to representing clients in court, the clinic has become a
                         definitive information resource on contemporary environmental law and policy, with
                         special focus on the Pacific Northwest.

                       RECOGNITION
                       • Antitrust Enforcement Award Honoree, American Antitrust Institute, 2018, 2019,
                         2021, 2024
                       • 500 Global Plaintiff Lawyers, Lawdragon, 2024
                       • 500 Leading Lawyers in America, Plaintiff Financial Lawyers, Lawdragon, 2023-2024
                       • 500 Leading Lawyers in America, Plaintiff Consumer Lawyers, Lawdragon, 2024
                       • Lawyer of the Year, Litigation, Securities Litigation, Best Lawyers, 2024
                       • The Best Lawyers in America, Antitrust Litigation, Best Lawyers, 2024
                       • The Best Lawyers in America, Securities Litigation, Best Lawyers, 2024
                       • The Best Lawyers in America, Plaintiffs Mass Tort Litigation/Class Actions, Best
                         Lawyers, 2024
                       • The Best Lawyers in America, Plaintiffs Product Liability Litigation, Best Lawyers,
                         2024
                       • Legal Lion of the Week as part of the litigation team that achieved class certification
                         in NCAA Student-Athlete Name, Image and Likeness, Law360, 2023
                       • Best Lawyers in America in Litigation, Securities and Product Liability Litigation,
                         Plaintiffs and Other Areas of Note, 2023
                       • Washington Super Lawyers, 1999-2023
                       • Titan of the Plaintiffs Bar, Law360, 2018, 2020, 2022
                       • Leading Commercial Litigators, The Daily Journal, 2022
                       • Hall of Fame, Lawdragon, 2022
                       • Plaintiffs’ Attorneys Trailblazer, The National Law Journal, 2017, 2022
                       • Sports & Entertainment Law Trailblazer, The National Law Journal, 2021
                       • Class Action MVP of the Year, Law360, 2016-2020
                       • Elite Trial Lawyers, The National Law Journal, 2014-2016, 2018-2019
                       • 500 Leading Lawyers in America, Lawdragon, 2014-2019
                       • State Executive Committee member, The National Trial Lawyers, 2018
                       • Class Actions (Plaintiff) Law Firm of the Year in California, Global Law Experts, 2017



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                       • Finalist for Trial Lawyer of the Year, Public Justice, 2014
                       • One of the 100 most influential attorneys in America, The National Law Journal, 2013
                       • Most powerful lawyer in the state of Washington, The National Law Journal, 2000
                       • One of the top 10 plaintiffs’ firms in the country, The National Law Journal

                       PRESENTATIONS
                       • Steve is a frequent public speaker and has been a guest lecturer at Stanford
                         University, University of Washington, University of Michigan and Seattle University
                         Law School.

                       PERSONAL INSIGHT
                       Steve was a high school and college soccer player and coach. Now that his daughter’s
                       soccer skills exceed his, he is relegated to being a certified soccer referee and spends
                       weekends being yelled at by parents, players and coaches (as opposed to being yelled
                       at by judges during the week). Steve is also an avid cyclist and is heavily involved in
                       working with young riders on the international Hagens Berman Axeon cycling team.




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                                     OF COUNSEL

                                     Benjamin J. Siegel

                                     Mr. Siegel is an experienced litigator with a focus on antitrust
                                     law who has represented clients in state and federal courts, on
                                     appeals, as well as before arbitrators and governmental
 bens@hbsslaw.com                    agencies, and has achieved significant settlements for clients.
 T 510-725-3000
 F 510-725-3001                      CURRENT ROLE
                                     • Of Counsel, Hagens Berman Sobol Shapiro LLP
 715 Hearst Avenue
 Suite 300                           RECENT CASES
 Berkeley, CA 94710                  • In re College Athlete NIL Litigation, No. 4:20-cv-03919 (N.D. Cal.)
 YEARS OF EXPERIENCE                 • Carter v. NCAA et al., No. 3:23-cv-06325 (N.D. Cal.)
 16
                                     • In re Optical Disk Drive Prods. Antitrust Litigation, No. 3:10-md-2143-RS (N.D. Cal.)
 PRACTICE AREAS
                                     • Bartron et al. v. Visa Inc. et al., 1:11-cv-01831 (D.D.C.)
 Antitrust Litigation
 Class Action                        • In re NCAA Grant-In-Aid Antitrust Litigation, 4:14-md-02541-CW (N.D. Cal.)
 High Tech Litigation
 Sports Litigation                   • In re Resistors Antitrust Litigation, 5:15-cv-03820-JD (N.D. Cal.)

 BAR ADMISSIONS
                                     EXPERIENCE
  California
                                     • Following his work at Boies, Schiller & Flexner LLP in 2008-2009, Mr. Siegel has
 COURT ADMISSIONS
                                       litigated cases on behalf of plaintiffs for the past 14 years.
  U.S. Court of Appeals for the
                                     LEGAL ACTIVITIES
   Ninth Circuit
  U.S. District Court for the       • Alameda County Bar Association
   Northern District of California
  U.S. District Court for the       RECOGNITION
   Eastern District of California    • Northern California Super Lawyers, 2024
 CLERKSHIPS                          • Legal Lion of the Week as part of the litigation team that achieved class certification
  Honorable Thomas M. Reavley,        in NCAA Student-Athlete Name, Image and Likeness, Law360, 2023
   Fifth Circuit Court of Appeals
                                     • Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice,
 EDUCATION
                                       American Antitrust Institute, 2021
                                     • Rising Stars, Super Lawyers, 2018
 The University of Texas School of
 Law, The University of Texas LBJ
                                     PUBLICATIONS
   School of Public Affairs, J.D.,   • Constitutional Rights and the Counter-Majoritarian Dilemma, May 15, 2007
  M.P.A., Order of the Coif, High
   Honors, 2007 Articles Editor,       (unpublished Master’s thesis, University of Texas at Austin)
  Texas Law Review; Texas Law
   Review Best Litigation Note,      • Benjamin Siegel, Note, “Applying a ‘Maturity Factor’ Without Compromising the
   Volume 85; Texas Law Public         Goals of the Class Action,” 85 Texas Law Review 74, 2007
     Interest Fellowship; LBJ
 Foundation Award, First in Class




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                                     • Benjamin Siegel et al., “Beyond the Numbers: Improving Postsecondary Success
                                       through a Central Texas High School Data Center,” LBJ School of Public Affairs, Policy
   Yale University, B.A. Political
   Science, cum laude, Phi Beta        Research Report No. 148, 2005
           Kappa, 2000
                                     • Benjamin Siegel, “California Must Protect Health Care for Medi-Cal Children,”
 AWARDS                                15 Youth Law News 1, 2004
                                     • Jenny Brodsky, Jack Habib and Benjamin Siegel, “Lessons for Long-Term Care Policy,
                                       World Health Organization,” Publication No. WHO/NMH7CCL/02.1, 2002
                                     • Jenny Brodsky, Jack Habib, Miriam Hirschfeld and Benjamin Siegel, “Care of the Frail
                                       Elderly in Developed and Developing Countries: the Experience and the Challenges,”
                                       14 Aging Clinical & Experimental Research 279, 2002

                                     PERSONAL INSIGHT
                                     When not working to enforce the nation’s antitrust laws, Mr. Siegel enjoys spending
                                     time with his wife and three young children in his hometown of Oakland, California. He
                                     also likes playing softball and pick-up basketball with his friends.




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                                      ASSOCIATE

                                      Emilee Sisco

                                      Ms. Sisco is an associate at Hagens Berman and practices in the
                                      areas of sports litigation, antitrust and consumer protection. As
                                      a former Division I athlete, she has worked on the firm’s cases
 emilees@hbsslaw.com
                                      against the NCAA, furthering the rights of college-athletes
                                      across the nation.
 T 206-623-7292
 F 206-623-0594
                                      CURRENT ROLE
 1301 Second Avenue                   • Associate, Hagens Berman Sobol Shapiro LLP
 Suite 2000
 Seattle, WA 98101                    RECENT SUCCESS

 YEARS OF EXPERIENCE                  • Namoff v. Fleishman & Shapiro, P.C. et al.
 9                                    • In re National Prescription Opiate Litigation
 PRACTICE AREAS                       • In re NCAA Athletic Grant-In-Aid Cap Antitrust Litigation
 Antitrust Litigation
                                      • In re General Motors LLC Ignition Switch Litigation
 Class Action
 Consumer Rights
                                      EXPERIENCE
 Sports Litigation
                                      • Law Clerk for Washington State Office of the Attorney General – Antitrust Division
 BAR ADMISSIONS

  Washington                         LEGAL ACTIVITIES
                                      • During 2L and 3L years in law school, Ms. Sisco was a fulltime volunteer intern for the
 COURT ADMISSIONS
                                        WSBA Moderate Means Program. She volunteered more than 250 hours of pro bono
  U.S. District Court for the          service during law school.
     Western District of Washington
                                      RECOGNITION
 EDUCATION
                                      • Legal Lion of the Week as part of the litigation team that achieved class certification
                                        in NCAA Student-Athlete Name, Image and Likeness, Law360, 2023
                                      • 2021, 2019 Honoree for Outstanding Antitrust Litigation Achievement in Private Law
  Seattle University School of Law,     Practice, American Antitrust Institute
                J.D.

                                      LANGUAGES
                                      • Latin
      University of Oregon, B.A.
                                      PERSONAL INSIGHT
                                      Ms. Sisco was a Division I volleyball athlete for the University of Oregon and University
                                      of Colorado. She was a member of the U.S. Women’s Volleyball A3 team and was also a
                                      three-sport varsity athlete throughout high school, earning top 10 state finishes in two
                                      events at the WIAA Track & Field Championship.




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                                       ASSOCIATE

                                       Stephanie A. Verdoia

                                       Stephanie brings to the firm a deep knowledge of professional
                                       sports policies, protocols and governance to enrich Hagens
                                       Berman’s robust sports law practice.
 stephaniev@hbsslaw.com
                                       CURRENT ROLE
 T 206-623-7292
                                       • Associate, Hagens Berman Sobol Shapiro LLP
 F 206-623-0594
                                       • Ms. Verdoia’s practice at the firm’s Seattle office focuses primarily on sports
 1301 Second Avenue                      litigation, where she applies her deep knowledge of sports governance, policies and
 Suite 2000                              protocols to bolster the firm’s expansive work in this area of law.
 Seattle, WA 98101
                                       EXPERIENCE
 PRACTICE AREAS
                                       • Prior to joining Hagens Berman, Ms. Verdoia interned at Seattle’s Legal Voice, where
 Sports Litigation
                                         she researched legal issues regarding gender equality by analyzing the interplay
 INDUSTRY EXPERIENCE                     between constitutional principles, recently enacted state statutes and prevailing
                                         precedent.
  Sports Governance
  Sports Policy and Protocols         • Ms. Verdoia also interned with the legal department at Seattle Sounders FC, where
                                         she provided legal research and solutions responding to the evolving developments
 COURT ADMISSIONS
                                         of the COVID-19 pandemic.
  U.S. District Court for the
   Western District of Washington      RECOGNITION

 EDUCATION                             • Legal Lion of the Week as part of the litigation team that achieved class certification
                                         in NCAA Student-Athlete Name, Image and Likeness, Law360, 2023

                                       ACTIVITIES
  University of Washington School
    of Law, J.D., 2021, Order of       • Her additional experience in professional sports lends itself to the firm’s sports
              Barristers                 litigation practice area. Ms. Verdoia has years of experience in the realm of
                                         professional soccer as a midfielder in Norway’s Toppserien top division soccer and
                                         with the National Women’s Soccer League (NWSL) both for the Boston Breakers and
                                         most recently the OL Reign (formerly known as Seattle Reign FC).
  Seattle University, B.A. Political
    Science and Legal Studies,         • During her time in these roles, she trained with the top NWSL team to enhance
     summa cum laude, 2015
                                         squad development with the Reign; led Norway’s Vålerenga Fotbal Damer to the
                                         national championship game; and was one of only 36 women nationally drafted into
                                         the professional female league when she began her professional sports career in
                                         2015 with the Boston Breakers.
                                       • Ms. Verdoia has also served as a league representative, helping to take a leadership
                                         role in the sport by conducting conversation with key league figures to further
                                         players’ interests and advance gender equity in sport. She also implemented working
                                         standards to create a safer environment and established a framework for a future
                                         players association.




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                       PERSONAL INSIGHT
                       As a lifelong soccer player, Stephanie spends her free time coaching youth soccer teams
                       at the OL Reign Academy. She also enjoys camping anywhere in the Pacific Northwest
                       with her fiancé, Shane, and her dog, Stevie.




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ABOUT THE FIRM



Notable Firm Success
TOTAL FIRM SETTLEMENTS VALUED AT $320 BILLION

While many of our firm’s cases harnessed litigation’s power of pinpointed problem solving, Hagens Berman’s
track record of victories spans national issues and brings widespread relief to some of the largest classes ever
certified in U.S. history. Our attorneys’ career highlights encompass the top cases in world history, both in
their historical significance and in their monetary relief, and include the infamous Big Tobacco litigation of
the 90s, Enron pension protection, justice for victims of Harvey Weinstein, restitution for those affected by
Volkswagen’s Dieselgate scandal and more. Since our founding, our firm has made a difference in some of
the most momentous and important moments in history.

$260 Billion                                                $1.6 Billion
State Tobacco Litigation                                    Toyota Unintended Acceleration Litigation
Hagens Berman represented 13 states prosecuting             Hagens Berman served as co-lead counsel and
major actions against Big Tobacco. The settlement           secured what was then the largest automotive
led to a multistate settlement requiring the                settlement in history in this class action that
tobacco companies to pay the states and submit              recovered $1.6 billion for vehicle owners.
to advertising and marketing restrictions. It was
the largest civil settlement in history.                    $1.6 Billion
                                                            Volkswagen Franchise Dealers Emissions
$25 Billion                                                 The firm served as lead counsel representing VW
Visa Check/MasterMoney Antitrust Litigation                 franchise dealers in this lawsuit related to VW’s
The firm served as co-lead counsel in what was              Dieselgate scandal. The settlement recovered
then the largest antitrust settlement in history.           nearly full damages for the class.
The lawsuit alleged that Visa and MasterCard
engaged in an anticompetitive scheme to                     $1.45 Billion
monopolize the debit card services market and               Meracord Consumer Litigation
charge merchants artificially inflated interchange          The firm secured a default judgment on behalf of
fees. Settlements relief that court decisions               consumers, following years of plaintiff victories in
valued at as much as $25-87 billion.                        the case. Hagens Berman filed its lawsuit on
                                                            behalf of consumers nationwide, claiming the
$14.7 Billion                                               company violated the federal Racketeer
Volkswagen Emissions Litigation                             Influenced and Corrupt Organizations Act.
Hagens Berman was named a member of the
plaintiffs’ steering committee and part of the              $1.3 Billion
settlement negotiating team in this monumental              Hyundai Kia Theta II GDI Fire Hazard Litigation I
case that culminated in the largest automotive              Hagens Berman is co-lead counsel in this case
settlement in history. The firm was the first law           accusing automakers of selling vehicles with
firm to file against Volkswagen regarding its               failure-prone engines that could sometimes catch
Dieselgate emissions-cheating scandal.                      fire. The case is still pending litigation pertaining
                                                            to other affected models.




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$700 Million                                             $385 Million
Mercedes BlueTEC Emissions Litigation                    Suboxone Antitrust
A monumental settlement was reached on behalf            Hagens Berman was co-lead counsel in this
of owners of Mercedes vehicles affected by               pharmaceutical antitrust class action alleging
Daimler’s emissions cheating. The case was               defendants violated federal antitrust laws by
initially filed and researched by Hagens Berman,         delaying generic competition for its blockbuster
based on the firm’s independent vehicle testing,         opioid addiction medicine, Suboxone.
and the firm served as co-lead counsel. The
consumer settlement followed a $1.5 billion              $340 Million
settlement between Mercedes and the U.S.                 Ranbaxy Inc. Antitrust
Justice Department and California Air Resources          Hagens Berman served as co-lead counsel
Board. The settlement includes an $875 million           representing Meijer Inc. and Meijer Distribution
civil penalty for violating the Clean Air Act.           Inc. in a class-action lawsuit against drugmaker
                                                         Ranbaxy. The lawsuit alleged it recklessly stuffed
$700 Million                                             the generic drug approval queues with grossly
Washington Public Power Supply System                    inadequate applications and deceiving the FDA
Securities Litigation                                    into granting tentative approvals to lock in
Hagens Berman represented bondholders and the            statutory exclusivities to which Ranbaxy was not
trustee in a class action stemming from the failure      entitled. Ranbaxy then excluded competition at
of two nuclear projects. Plaintiffs were awarded a       the expense of U.S. drug purchasers. The
$700 million settlement.                                 settlement was part of a $485 million settlement
                                                         for all plaintiffs. The result was the second largest
$616 Million                                             antitrust recovery to receive final approval in
Apple E-Books Antitrust Litigation                       2022.
Hagens Berman served as co-lead counsel against
Apple and five of the nation’s largest publishing        $338 Million
companies and secured a combined $616 million            Average Wholesale Price Drug Litigation
settlement, returning class members nearly twice         Hagens Berman was lead counsel in this ground-
their losses in recovery, following the firm’s           breaking drug pricing case against the world’s
victory over Apple after it appealed the case to         largest pharmaceutical companies, resulting in a
the U.S. Supreme Court.                                  victory at trial. The court approved a total of $338
                                                         million in settlements.
$453 Million
Glumetza Antitrust Litigation                            $218 Million
The court denied summary judgment and paved              JP Morgan Madoff Investor Fraud Litigation
the way for trial in this litigation against brand and   Hagens Berman settled this case on behalf of
generic manufacturers of the diabetes drug               Bernard L. Madoff investors in a suit filed against
Glumetza. Hagens Berman served as co-lead                JPMorgan Chase Bank, its parents, subsidiaries
counsel for the direct purchaser class. U.S. District    and affiliates. The settlement against JPMorgan
Judge William Alsup approved $453.85 million in          involved three simultaneous, separately
settlements resolving direct purchasers’                 negotiated settlements totaling more than $2.2
allegations. The result was the largest antitrust        billion.
recovery to receive final approval in 2022.
                                                         $215 Million
$383.5 Million                                           USC, DR. George Tyndall Sexual Abuse &
DaVita Healthcare Personal Injury Litigation             Harassment
A Denver jury awarded a monumental $383.5                The firm served as co-lead counsel and secured a
million verdict to families of three patients who        $215 million settlement on behalf of a class of
died after receiving dialysis treatments at DaVita       thousands of survivors of sexual assault against
clinics.                                                 the University of Southern California and its Dr.

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George Tyndall, the full-time gynecologist at USC’s     million settlement resulted in a payment of more
student health clinic.                                  than $13,000 per class member.

$208 Million                                            $125 Million
NCAA Scholarship Cap Antitrust Litigation               Pharmaceutical AWP Litigation
Hagens Berman was co-lead counsel in the                Hagens Berman was lead counsel against 11
damages portion of this historic antitrust class        pharmaceutical companies, including Abbott
action claiming the NCAA unlawfully capped the          Laboratories and Watson Pharmaceuticals,
value of athletic scholarships. In a historic ruling,   resulting in multiple settlements between 2006
the U.S. Supreme Court unanimously upheld a             and 2012. Defendants agreed to pay $125 million
trial victory regarding the injunctive portion of the   in a nationwide settlement for intentionally
case securing monumental improvements for               inflating reports of the average wholesale prices
college athletes, and forever changing college          (AWP) on certain prescription medications.
sports. Steve Berman served as trial counsel.
                                                        $100 Million
$205 Million                                            Apple iOS App Store Antitrust Litigation
Optical Disc Drives (ODD) Antitrust Litigation          In this lawsuit against Apple, the firm served as
Hagens Berman served as lead counsel on behalf          interim lead counsel in this matter and
of consumers in a lawsuit filed against Philips,        represented U.S. iOS developers against the tech
Pioneer and others for artificially inflating the       giant. The suit accused Apple of monopolizing
price of ODDs.                                          distribution services for iOS apps and in-app
                                                        digital products, allegedly resulting in commission
$200 Million                                            overcharges. Apple agreed to pay $100 million
New England Compounding Pharmacy                        and make developer-friendly changes to its App
Meningitis Outbreak Litigation                          Store policy.
Hagens Berman attorneys served as lead counsel
for the plaintiffs’ steering committee on behalf of     $95 Million
plaintiff-victims of the 2012 fungal meningitis         AppleCare Consumer Litigation
outbreak that led to more than 64 deaths and            This class action secured compensation for
hundreds of joint infection cases.                      iPhone, iPad and iPod owners who bought
                                                        AppleCare or AppleCare+ coverage. The suit
$181 Million                                            accused Apple of using inferior, refurbished or
Broiler Chicken Antitrust Litigation                    used parts in device replacements, despite
Hagens Berman serves as interim class counsel in        promising to provide consumers with a device
a case against Tyson, Purdue and 16 other chicken       “equivalent to new in performance and
producers for allegedly conspiring to stabilize         reliability,” and Hagens Berman reached a
chicken prices by reducing production. The firm         settlement with the tech giant in April 2022,
continues to litigate the case against remaining        resolving these claims.
defendants.
                                                        $90 Million
$169 Million                                            Google Play Store App Developers Antitrust
Animation Workers Antitrust Litigation                  Litigation
Hagens Berman was co-lead counsel for a class of        The firm filed a class action on behalf of Android
approximately 10,000 animators and other artistic       app developers for violating antitrust laws by
workers in an antitrust class action against Pixar,     allegedly illegally monopolizing markets for
DreamWorks, The Walt Disney Company, Sony               Android app distribution and in-app payment
and others for allegedly conspiring to restrain         processing. A $90 million settlement has been
competition and suppress industry wages. A $169         preliminarily approved.




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ABOUT THE FIRM



Record-Breaking Achievements
Hagens Berman’s caseload is home to many superlatives, including the largest settlement in world history,
and at the time the largest automotive, antitrust, ERISA and securities settlements in U.S. history, as well the
record-breaking recoveries and class certifications, spanning across the country. The firm’s attorneys have
brought many cases that have pioneered case law, securing first-of-its-kind successes.


                                          SETTLEMENT
  CASE NAME                                 AMOUNT            RECORD-BREAKING ACHIEVEMENT


 State Tobacco Litigation
 Special Assistant Attorney               $260 Billion               The largest civil settlement in history.
 General

 Visa Check/MasterMoney
                                                                        The largest antitrust settlement
 Antitrust Litigation                     $25 Billion
                                                                             in history at the time.
 Co-Lead Counsel

 VW/Porsche/Audi Emissions                                        Hagens Berman was the first firm to file, and
                                         $14.7 Billion
 Plaintiffs' Steering Committee                                it is the largest automotive settlement in history.

 VW Franchise Dealerships
                                          $1.6 Billion          The settlement recovered nearly full damages.
 Lead Counsel

                                                                 The Toyota SUA settlement was the largest
 Toyota Sudden, Unintended                                   automotive settlement in history at the time, only to
 Acceleration (SUA)                       $1.6 Billion           be surpassed by the firm’s later $14.7 billion
 Co-Lead Counsel                                                settlement with Volkswagen for its Dieselgate
                                                                                  scandal.

                                                              The case was one of the most complex and lengthy
                                                             securities fraud cases ever filed. The default was one
 Washington Public Power                                       of the largest municipal bond defaults in history.
                                         $700 Million
 Supply System                                                 After years of litigation, plaintiffs were awarded a
                                                               settlement agreement brought against more than
                                                                                  200 defendants.




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                                              This case was largely the result of managing partner
 Daimler Mercedes BlueTEC                         Steve Berman’s foresight. When news of the
                                               Volkswagen emissions-cheating scandal broke, the
 Emissions                    $700 Million
                                             firm purchased a Mercedes and an emissions testing
 Co-Lead Counsel                                machine and hired a team of experts to conduct
                                                              independent testing.

 Apple E-Books Antitrust
                                                    This settlement returned nearly twice
 Litigation                   $616 Million
                                                        their losses to class members.
 Co-Lead Counsel

 Glumetza                                              The largest antitrust recovery to
                              $453 Million
 Co-Lead Counsel                                        receive final approval in 2022.

 DaVita Healthcare Partners
                                                  The largest verdict in medical malpractice
 Personal Injury              $383 Million
                                                              litigation of 2018.
 Counsel

                                             The settlement created a 4 percent price reduction
 First Databank               $350 Million
                                                  in all retail drugs, among other benefits.

 Ranbaxy Inc. Antitrust                             The second largest antitrust recovery
                              $340 Million
 Co-Lead Counsel                                      to receive final approval in 2022.

 Enron ERISA
                              $250 Million   The largest ERISA settlement in history at the time.
 Co-Lead Counsel

 Aequitas Capital
                                                     Believed to be the largest securities
 Management                   $234 Million
                                                        settlement in Oregon history.
 Co-Lead Counsel

                                                  In a historic ruling, the U.S. Supreme Court
 NCAA Athletic Grant-in-Aid                    unanimously upheld a trial victory regarding the
 Cap Antitrust                $208 Million   injunctive portion of the case securing monumental
 Co-Lead Counsel                                improvements for college athletes, and forever
                                                            changing college sports.

 Expedia Hotel Taxes & Fees                     The largest consumer class-action settlement
                              $123 Million
 Litigation                                        in the state of Washington at the time.

                                             In addition to a $100 million settlement in the case,
                                             Apple agreed to make pro-developer changes to its
 Apple iOS App Developers
                              $100 Million     app store policies and reduce the commission it
 Class Counsel
                                               charged small developers by 50% for a period of
                                                                  three years.




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                                                        The second largest settlement in the
 Boeing                         $92 Million
                                                              Northwest at the time.

                                                   The litigation revealed problems with the city’s
                                                  infrastructure (that were leading to nonexistent
                                                 chlorine levels in parts of the city), and the lawsuit
 City of Sycamore Water
                                                   led the city to replace most lead service lines
 Contamination
                                                      throughout town, and the infrastructure
                                                       improvements should benefit residents
                                                                 for decades to come.

                                                This litigation alleges that the nation’s largest broiler
                               $181 million        chicken producers conspired to fix the price of
                               preliminarily    chicken for consumers by up to 50 percent. The firm
 Broilers Chicken Antitrust
                              approved, class       estimates that the recent class certification,
 Co-Lead Counsel
                               certification    comprising every American who purchased chicken
                                 granted                  from a grocery store, may represent
                                                    the largest class certification in U.S. history.




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ABOUT THE FIRM



Awards
           Outstanding Antitrust Litigation Achievement Honoree
                                  AMERICAN ANTITRUST INSTITUTE
                                        In re NCAA Athletic      Edwards v. National Milk
      Cameron et al v. Apple
                                         Grant-in-Aid Cap         Producers Federation

          Top Verdict of the Year                        Antitrust Practice Group
       EA/Madden NFL Video Game
             Development
                                                                of the Year
                                                                     LAW360
                 THE DAILY JOURNAL



                   Most Feared                         Class Action Practice Group
                  Plaintiffs Firms                             of the Year
                         LAW360                                      LAW360



            Elite Trial Lawyer                           Top 10 Plaintiffs’ Firms
       Litigation Firm of the Year                           in the Country
          THE NATIONAL LAW JOURNAL                       THE NATIONAL LAW JOURNAL



           The Best Law Firms in                       Leading Plaintiff Consumer
                 America                                  Lawyers in America
                       BEST LAWYERS                               LAWDRAGON



         MVP of the Year Award
                                                       500 Global Plaintiff Lawyers
             Class Action                                         LAWDRAGON
                         LAW360




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ABOUT THE FIRM



Accolades
“[A] clear choice emerges. That choice is the Hagens Berman firm.”
    — U.S. District Court for the Northern District of California, In re Optical Disk Drive Products Antitrust Litigation
      Appointing the firm lead counsel in the case which would later usher in $205 million in settlements.


“Landmark consumer cases are business as usual for Steve Berman.”
    — The National Law Journal, naming Steve Berman one of the 100 most influential attorneys in the nation for
      the third time in a row


“Berman is considered one of the nation’s top class action lawyers.”
    — Associated Press


“unprecedented success in the antitrust field”
    — California Magistrate Judge Nathanael M. Cousins
      A July 2015 order awarding attorneys’ fees in student-athlete name and likeness litigation


“All right, I think I can conclude on the basis with my five years with
you all, watching this litigation progress and seeing it wind to a
conclusion, that the results are exceptional…You did an exceptionally
good job at organizing and managing the case…”
    — U.S. District Court for the Northern District of California, In re Dynamic Random Access Memory Antitrust
      Litigation
      Hagens Berman was co-lead counsel and helped achieve the $406 million class settlement.


“aggressive and independent advocacy”
    — Hon. Thomas M. Durkin in an order appointing Hagens Berman as interim class counsel in In re Broiler
      Chicken Antitrust Litigation


“Class counsel has consistently demonstrated extraordinary skill and
effort.”
    — Hon. James Selna, Central District of California, In Re: Toyota Motor Corp. Unintended Acceleration
      Marketing, Sales Practices, And Products Liability Litigation
      The firm was appointed co-lead counsel without submitting to lead the case, and later achieved what was
      then the largest settlement in history brought against an automaker – $1.6 billion.


“…I have never worked with such professional, decent counsel.”
    — Hon. Dennis M. Cavanaugh, United States District Judge (Retired), Transcript Of Proceedings Fairness Hearing
      for In Re Mercedes-Benz Emissions Litigation
      Hagens Berman helped secure a $700 million settlement for class members and served as co-lead counsel.




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“...This result...puts significant money into the pockets of all of the class
members, is an excellent result. ...I’ve also looked at the skill and quality
of counsel and the quality of the work... and find that to have been at a
high level.”
    — Hon. Beth Labson Freeman, United States District Judge, Final Approval of Settlement Hearing for Dean
      Sheikh et al v. Tesla, Inc.


“...respective clients certainly got their money’s worth with these
attorneys and the work that they did on their behalf. …Plaintiffs did an
excellent job on behalf of their clients in this case.”
    — Hon. Dennis M. Cavanaugh, United States District Judge (Retired)
      Proceedings Fairness Hearing for In Re Mercedes-Benz Emissions Litigation


“Class Member reaction to the Mercedes Settlement is overwhelmingly
positive.”
    — Hon. Dennis M. Cavanaugh (Ret.) Special Master, In Re Mercedes-Benz Emissions Litigation


“I will reiterate that class counsel has demonstrated over many years,
superior experience and capability in handling class actions of this sort.”
    — Hon. Beth Labson Freeman, United States District Judge, Final Approval of Settlement Hearing for Dean
      Sheikh et al v. Tesla, Inc.


“Plaintiffs have zealously litigated this case on behalf of the class over
the course of eight years...the reaction of the class members has been
overwhelmingly positive.”
    — Hon. Jeffrey S. White
      Order finalizing $28 million settlement in a class action against Schneider National Carriers Inc.




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